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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                    )
     In re:                                                         )    Chapter 11
                                                                    )
     GENESIS HEALTHCARE, INC., et al., 1                            )    Case No. 25-80185 (SGJ)
                                                                    )
                                        Debtors.                    )    (Joint Administration Requested)
                                                                    )

                   DECLARATION OF LOUIS E. ROBICHAUX IV IN SUPPORT OF
                     CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

              I, Louis E. Robichaux IV, hereby declare under penalty of perjury that the following is true

 and correct to the best of my knowledge, information, and belief:

                                             BRIEF BACKGROUND

              1.     In 1985, founders Michael Walker and Richard Howard acquired nine facilities,

 laying the foundation for what would ultimately become Genesis Healthcare, Inc. (“Genesis

 Healthcare” or the “Company”). Fast forward four decades to today, Genesis Healthcare is one of

 the largest post-acute care providers in the United States, currently operating approximately 175

 facilities across 18 states, with more than 27,000 employees. The Company endeavors to ensure

 that even those with serious health challenges receive compassionate, professional care in a setting

 designed to preserve dignity and quality of life.

              2.     Through most of its forty years of existence, Genesis Healthcare sought to expand,

 believing (like most operators in the skilled nursing industry) that operating more facilities would

 result in increased efficiency and economies of scale. At the height of its expansion in 2016,


 1
       The last four digits of Genesis Healthcare, Inc’s federal tax identification number are 4755. There are 299 Debtors
       in these chapter 11 cases, for which the Debtors have requested joint administration. The location of Genesis
       Healthcare, Inc.’s corporate headquarters and the Debtors’ service address is 101 East State Street, Kennett
       Square, PA 19348. A complete list of the Debtors is attached hereto as Exhibit A and may also be obtained on
       the website of the Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/Genesis.
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 Genesis Healthcare became the largest skilled nursing operator in the United States, with over 500

 facilities and over 60,000 licensed beds in over 30 states.

         3.      But as the Company continued to grow in size and scale, those growth metrics did

 not translate into increasing profitability. Rather, through these expansion efforts, the Company’s

 operations became increasingly more difficult to manage, subject to significantly disparate state

 landscapes, and mired in corporate inefficiencies that followed numerous mergers and

 acquisitions. In an effort to stay competitive, the Company shifted from its growth trajectory in

 2017 and began divesting certain of its unprofitable facilities, decreasing its portfolio from

 approximately 500 to fewer than 400 facilities by the beginning of 2020.

         4.      Unfortunately, just as the Company’s portfolio rationalization process was gaining

 traction, the COVID-19 pandemic struck. The after-effects of the pandemic on the skilled nursing

 industry generally, and Genesis Healthcare specifically, cannot be overstated. The Company faced

 a rapid and substantial liquidity shortfall and engaged advisors to prepare for a chapter 11 filing.

 However, through a capital infusion by a private investment entity, ReGen Healthcare, LLC

 (“ReGen”), and a restructuring of its master lease with its largest landlord, Welltower, the

 Company was able to narrowly avoid a bankruptcy filing in March of 2021.

         5.      But legacy liabilities dating back to the Company’s expansion efforts in the mid-

 2010’s continued to weigh heavily on the Company’s liquidity. In particular, as the Company

 rationalized its lease portfolio to the approximately 175 facilities that it operates today, it remained

 responsible for liabilities associated with a much larger footprint.         Despite the Company’s

 successful operational turnaround over the past several years, ReGen’s capital infusions (totaling

 approximately $100 million) proved insufficient to overcome this overhang. This includes, among

 other things, funding of approximately $8 million per month in settlement and defense costs




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 arising from alleged personal injury and wrongful death claims, most of which date back many

 years. Replete with corporate guarantees, cross-collateralization, and an insurmountable quantum

 of legacy liabilities dating back decades, it became clear that, without a more holistic solution, the

 Company would be unable to continue delivering high quality care and appropriately invest in its

 facilities and equipment.

        6.      To this end, during the first half of 2025, the Company and its restructuring advisors

 engaged with key holders of the Company’s funded debt to negotiate the terms of a comprehensive

 solution. Following extensive, arm’s-length negotiations, the Company today enters chapter 11

 with a clear and defined exit path. Specifically, the Company has negotiated a $30 million

 committed DIP financing facility, funded on a junior basis by the Company’s existing term loan

 lenders, coupled with a binding bid (the “Stalking Horse Bid”) set forth in a stalking horse term

 sheet (the “Stalking Horse Term Sheet”), sponsored by affiliates of ReGen, that contemplates the

 purchase of substantially all of the Company’s assets. With the assistance of Jefferies and their

 other restructuring advisors, the Debtors are commencing a comprehensive and robust post-

 petition marketing process and intend to seek Court approval of related bid procedures to solicit

 higher or otherwise better offers to purchase the Debtors’ assets. Recognizing the affiliated nature

 of the proposed purchaser, the Stalking Horse Bid was heavily negotiated in good faith and at

 arm’s-length by the Debtors and independent director members of the Special Investigation

 Committee (as defined and further described below). The Special Investigation Committee was

 advised by independent special counsel that led a comprehensive pre-petition investigation into,

 among other things, potential claims and causes of action proposed to be purchased or released

 under the Stalking Horse Bid. These efforts ensure that higher or otherwise better bids will be

 solicited to test and compete with the Stalking Horse Bid.




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        7.      Although the Debtors begin these Chapter 11 Cases (as defined herein) with a

 clearly-defined path and a value-maximizing solution, a successful restructuring is dependent on

 a brisk and efficient chapter 11 process. With more than 15,000 residents and 27,000 employees,

 the Debtors’ operations—plagued by years of financial stress and deferred capital expenditures—

 along with their residents, employees, and stakeholders cannot afford to languish in chapter 11.

 This is why the Debtors believe that an efficient but robust sale process is necessary and

 appropriate, and why the Debtors have taken significant steps along the way to ensure that resident

 care remains the utmost priority during this process.

        8.      Genesis Healthcare’s journey over the past 40 years has faced many trials and

 tribulations, but at every turn, the Company, through strong resolve and a commitment to

 delivering passionate care to its residents and patients, has endured. Well-positioned to capitalize

 on the success of the operational turnaround led by the Company’s current management team, the

 Debtors are now ready to take the next step in the future of Genesis Healthcare’s journey. The

 proposed value-maximizing sale process already enjoys the support of many of the Company’s

 key stakeholders, and the Debtors believe that these chapter 11 cases can act as a springboard to

 the Company’s renewed success for decades to come.

                                        INTRODUCTION

        9.      On July 9, 2025 (the “Petition Date”), Genesis Healthcare, Inc. together with each

 of its Debtor affiliates and subsidiaries (collectively, the “Debtors”), as debtors and debtors-in-

 possession in the above-captioned chapter 11 cases (collectively, the “Chapter 11 Cases”) each

 filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code

 (the “Bankruptcy Code”) in the United States Bankruptcy Court for Northern District of Texas,

 Dallas Division (the “Court”).




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        10.     I am the Debtors’ Co-Chief Restructuring Officer (the “Co-CRO”). I am a Senior

 Managing Director at Ankura Consulting Group, LLC (“Ankura”) in Ankura’s Turnaround &

 Restructuring Advisory group. I have over 30 years of experience in the interim management,

 restructuring, and insolvency industry, with a significant emphasis on the U.S. healthcare industry.

 During that time, I have advised and assisted distressed companies with numerous complex

 financial, operational, and strategic situations, including serving as interim management, chief

 restructuring officer, and strategic restructuring advisor of such entities and assisting with, among

 other things, financial statement analysis, expert witness services, financial projection

 development, liquidity and cash management, M&A support, stakeholder negotiations, balance

 sheet recapitalization and restructurings, postpetition financing and sourcing, and bankruptcy

 preparation and administration. I also have extensive healthcare sector experience and have

 advised hospitals, HMO/managed care organizations, outpatient rehabilitation facilities, skilled

 nursing care facilities, and continuing care retirement communities.

        11.     I have played a key role in many successful chapter 11 restructurings, including In

 re South Hills Operations, LLC, Case No. 24-21217 (CMB) (Bankr. W.D. Pa. May 17, 2024)

 (served as chief restructuring officer); In re Tarrant County Senior Living Ctr., Inc., Case No. 19-

 33756 (SGJ) (Bankr. N.D. Tex. Nov. 5, 2019) (served as chief restructuring officer); In re

 Mayflower Communities, Inc., Case No. 19-30283 (HDH) (Bankr. N.D. Tex. Jan. 31, 2019)

 (served as chief restructuring officer); In re 4 West Holdings, Inc., Case No. 18-30777 (Bankr.

 N.D. Tex. Mar. 7, 2018) (HDH) (served as chief restructuring officer); and St. Francis’ Hospital

 in Poughkeepsie, New York, Case No. 13-37725 (Bankr. S.D.N.Y. Dec. 17, 2013). I have also

 served in numerous chief restructuring officer and similar roles out-of-court, including Tuomey

 Healthcare System (served as chief restructuring officer), Healthcare Partners Investment LLC




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 (served as interim CFO and restructuring advisor), Medicalodges Inc., Senior Living Properties

 LLC (served as chief restructuring officer), The Clare at Water Tower, Ascent Group, Sage

 Physician Partners Inc. d/b/a American Physician Housecalls, Orthodontic Centers of America,

 and MMH Medical Holdings Inc. I hold a B.B.A. from Austin Peay State University and an MBA

 from Mays Business School at Texas A&M University. I also hold an inactive license in Texas as

 a Licensed Nursing Facility Administrator and various professional credentials relevant to the

 restructuring industry.

        12.        Ankura was initially retained as financial advisor to the Company on August 1,

 2020 to provide certain financial and restructuring advisory services in connection with the

 Company’s then ongoing evaluation and development of strategic alternatives to address its

 operational and liquidity challenges. While Ankura was heavily involved in advising on potential

 restructuring scenarios in late 2020 and early 2021 (in advance of the ReGen investment in March

 2021), Ankura has remained engaged by the Company since that time to, among other things,

 prepare cash flow forecasting models and methodologies, monitor and report on liquidity levels,

 and advise and assist the Company with developing go-forward business plans. On the Petition

 Date, Russell A. Perry, a Senior Managing Director at Ankura, and I were appointed as Co-CROs

 to the Debtors.

        13.        As a result of my role and experience with the Company to date, I have personal

 knowledge of, and am familiar with, the business affairs, day-to-day operations, books and records,

 and financial condition of the Debtors, and I am authorized to submit this declaration

 (the “Declaration”) on behalf of the Debtors. Except as otherwise indicated herein, all statements

 set forth in this Declaration are based on my personal knowledge, my review of relevant documents

 and information concerning the Company’s operations, financial affairs, and restructuring




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 initiatives, discussions with key members of the Company’s management who oversee the day-to-

 day business operations and affairs, my opinion based on my experience, knowledge of the skilled

 nursing industry, and the Debtors’ operations and financial condition, and discussions with and

 information provided to me by the Debtors’ other representatives, including other proposed

 restructuring advisors, McDermott Will & Emery LLP (“McDermott”), as counsel and Jefferies

 LLP (“Jefferies”), as investment banker, and independent counsel to the Special Investigation

 Committee (the “Special Investigation Committee”) from Katten Muchin Rosenman LLP

 (“Katten”).   The statements in this Declaration are accurate to the best of my knowledge,

 information, and belief. If called upon to testify, I could and would testify competently to the facts

 set forth in this Declaration.

         14.     I submit this Declaration to assist the Court and the parties-in-interest in

 understanding the circumstances that led to the commencement of the Chapter 11 Cases and in

 support of (a) the Debtors’ voluntary petitions for relief under chapter 11 of the Bankruptcy Code

 and (b) the relief that the Debtors have requested pursuant to the motions and applications

 (collectively, the “First Day Pleadings”) filed contemporaneously herewith, which seek procedural

 and substantive relief that will facilitate the Debtors’ orderly transition into chapter 11, help avoid

 immediate and irreparable harm to the Debtors’ estates, and preserve their value. I am familiar

 with the contents of each of the First Day Pleadings and believe that the relief sought therein will

 allow the Debtors to fulfill their duties as debtors-in-possession, minimize possible disruption to

 the Debtors’ business that may be caused by commencement of the Chapter 11 Cases, and position

 the Debtors to effectuate an efficient restructuring through chapter 11, all while prioritizing the

 continued and uninterrupted care of their patients and residents.




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         15.     To assist the Court and parties-in-interest in understanding the Debtors’ business,

 as well as the relief the Debtors are seeking in the First Day Pleadings, this Declaration is organized

 in the following five parts:

         •       Part I provides an overview of the Company’s corporate history.

         •       Part II describes the Company’s business services and operations.

         •       Part III provides an overview of the Company’s prepetition corporate and capital
                 structure.

         •       Part IV describes the circumstances leading to the commencement of the Chapter
                 11 Cases, the Company’s prepetition negotiations with key stakeholders, and the
                 objectives of the Chapter 11 Cases.

         •       Part V sets forth the various First Day Pleadings filed in connection with the
                 Chapter 11 Cases, which the Debtors believe are critical to administering the
                 Chapter 11 Cases and preserving and maximizing the value of the Debtors’ estates.

                                      PART I:
                      GENESIS HEALTHCARE’S CORPORATE HISTORY

         A.      Early Years: Founding to Fast Growth

         16.     The Company’s origin can be traced back to 1985, when Genesis Health Ventures

 was founded with nine skilled nursing centers and a management team that believed nursing homes

 should be proactive centers of health care, rather than centers focused solely on custodial care for

 the elderly. Between 1985 and 1998, Genesis Health Ventures, a public company, grew in revenue

 from $32 million to $2.4 billion through the acquisition of nursing homes and ancillary services

 such as rehabilitation therapy, diagnostic testing, respiratory therapy, and pharmacy. Similar to

 the Company’s current operations, it primarily served high-acuity Medicare patients who needed

 intensive nursing care, rehabilitation therapy, and other support services to recover from an acute

 illness or injury.




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         17.      As a result of the Balanced Budget Act of 1997, the U.S. federal government made

 drastic and unanticipated cuts to Medicare, which funded virtually all the care for individuals

 admitted to centers operated by Genesis Health Ventures from hospitals. Genesis Health Ventures

 fought to stay solvent but was ultimately forced to seek chapter 11 protection in 2000 and emerged

 in 2001 as a reorganized company dedicated to providing high quality health care to its patients.

         18.      In 2003, the board of directors of Genesis Health Ventures decided to separate its

 in-patient care and pharmacy divisions. As part of the separation, Genesis Health Ventures

 adopted the NeighborCare pharmacy division’s trade name and spun off its skilled nursing,

 assisted living, and rehabilitative services segments into a new publicly traded entity, Genesis

 HealthCare Corporation. 2

         19.      In July 2007, Genesis HealthCare Corporation merged with GEN Acquisition

 Corp., a wholly owned subsidiary of FC-GEN Acquisition, Inc. Pursuant to the merger, valued at

 $1.52 billion, Genesis HealthCare Corporation was acquired by affiliates of Formation Capital,

 LLC and JER Partners through their joint venture, FC-GEN Acquisition Holding, LLC, and

 became a private company. 3 At the time of the merger, the portfolio of Genesis HealthCare

 Corporation consisted of 180 owned and leased facilities comprising more than 21,800 beds. 4




 2
     See Genesis sets date to complete elder-care spinoff, Modern Healthcare (Nov. 16, 2003), available at
     https://www.modernhealthcare.com/article/20031117/NEWS/311170330/genesis-sets-date-to-complete-elder-
     care-spinoff (last accessed July 1, 2025).
 3
     See     Form      8-K,    Genesis   HealthCare   Corporation      (July    18,     2007),        available     at
     http://pdf.secdatabase.com/1934/0001019056-07-000647.pdf (last accessed on July 1, 2025).
 4
     See JER Partners to Sell the Real Estate Assets of Genesis HealthCare to Health Care REIT, Inc. for $2.4 Billion,
     PR Newswire (Feb. 28, 2011), available at https://www.prnewswire.com/news-releases/jer-partners-to-sell-the-
     real-estate-assets-of-genesis-healthcare-to-health-care-reit-inc-for-24-billion-117095828.html (last accessed on
     July 1, 2025).


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             A.    Sale of Real Property Interests

             20.   April 1, 2011 was a pivotal moment in the history of the Company. On that date,

 Genesis HealthCare Corporation — which, at the time, owned nearly all of the real estate assets

 underlying its operations — transferred substantially all of its real property interests to Health Care

 REIT, Inc. (n/k/a Welltower, Inc.) (“Welltower”) in exchange for $2.4 billion and entered into a

 long-term triple-net master lease with Welltower to continue to operate the skilled nursing centers. 5

 The acquisition included 147 post-acute, skilled nursing, and assisted living facilities located in 11

 states in the Northeast and Mid-Atlantic regions of the U.S. 6 Around this same time, JER Partners

 exited from Genesis HealthCare Corporation and FC-GEN Operations Investment, LLC (“FC-

 GEN”), an entity formed by affiliates of Formation Capital, LLC and JER Partners in 2010, became

 the ultimate parent entity of the Company. 7

             B.    Continuing Expansion through Acquisition/Merger

             21.   On December 1, 2012, FC-GEN acquired Sun Healthcare Group, Inc., creating one

 of the largest skilled nursing providers in the country, with more than 400 skilled nursing centers

 in 29 states, and expanding its rehabilitation therapy business to more than 1,500 contracts in 46

 states. 8


 5
     See id.; see also Health Care REIT to Acquire Genesis HealthCare Real Estate Assets for $2.4 Billion, Senior
     Housing News (Feb. 28, 2011), available at https://seniorhousingnews.com/2011/02/28/health-care-reit-to-
     acquire-genesis-healthcare-real-estate-assets-for-2-4-billion/ (last accessed on July 1, 2025).
 6
     See Health Care REIT, Inc. Completes $2.4 Billion Acquisition of Genesis Healthcare Real Estate Assets, Genesis
     HealthCare Corporation, Press Release (Apr. 4, 2011), available at https://www.genesishcc.com/about-
     us/press/press-releases/health-care-reit-inc-completes-24-billion-acquisition-genesis (last accessed on July 1,
     2025).
 7
     See Consolidated Financial Statements, Genesis HealthCare LLC and Subsidiaries (Dec. 31, 2012), available at
     https://www.sec.gov/Archives/edgar/data/1492298/000149229813000010/exhibit991-genesisauditedf.htm (last
     accessed on July 1, 2025).
 8
     See Genesis Acquires Sun Healthcare Group, Inc., Genesis HealthCare, Press Release (Dec. 3, 2012), available
     at https://www.genesishcc.com/about-us/press/press-releases/genesis-healthcare-acquires-sun-healthcare-group-
     inc (last accessed on July 1, 2025).


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          22.       On February 1, 2015, FC-GEN merged with Skilled Healthcare Group, Inc.,

 creating Genesis Healthcare, Inc. 9 As part of this merger, FC-GEN became a subsidiary of the

 Genesis Healthcare, Inc. and the FC-GEN shareholders received Class A and Class C shares in

 Genesis Healthcare, Inc. and also retained their membership interests in FC-GEN through an Up-

 C structure. 10 This merger increased the Company’s existing skilled nursing portfolio to more

 than 500 skilled nursing centers in 34 states and expanded its rehabilitation therapy business to

 more than 1,600 service locations in 46 states and the District of Columbia. 11 At this time, Genesis

 Healthcare, Inc. began publicly trading on the NYSE with the ticker symbol of GEN. 12

          C.        Transacting as a Public Company

          23.       Following its reemergence on the public market, the Company focused on

 expanding its Genesis Rehabilitation Services (“GRS”) operations in Asia. On June 1, 2015, GRS

 partnered with Zhejiang Bang-Er Medical Group (“Bang-Er”), an orthopedic hospital system in




 9
      See FC-GEN Operations Investment, LLC completed the acquisition of Skilled Healthcare Group, Inc. from Onex
      Corporation and other shareholders in a reverse merger transaction, MarketScreener (Feb. 1, 2015), available
      at     https://www.marketscreener.com/quote/stock/GENESIS-HEALTHCARE-INC-120790266/news/FC-Gen-
      Operations-Investment-LLC-completed-the-acquisition-of-Skilled-Healthcare-Group-Inc-from-O-38488956/
      (last accessed on July 1, 2025).
 10
      An Umbrella Partnership Corporation (an “Up-C”) is an indirect mode for an operating partnership to conduct an
      initial public offering and is composed of two entities: (i) the parent company, which is a publicly traded C-
      corporation (here, Genesis Healthcare, Inc.) and is typically organized as a holding company with no material
      assets other than its equity interest in the existing partnership, and (ii) a direct subsidiary of the C-corporation,
      which is the then-existing operating partnership (here, FC-GEN), structured as a limited liability company. See
      The       Up-C       deal      structure      for     pass-through       entities,     Deloitte,     available     at
      https://www2.deloitte.com/us/en/pages/audit/articles/up-c-structure-ipo-advantages.html (last accessed on July 1,
      2025). This structure is capitalized with two classes of common stock: (a) Class A common stock, which is issued
      to public investors and provides both voting and economic rights in Pubco and (b) Class C common stock, which
      is issued to the existing owners of the partnership and only provides voting rights in PubCo. Because the legacy
      members of FC-GEN, LLC hold membership interests in an operating entity, they remain subject to a
      proportionate share of the tax gains and losses of the Company.
 11
      See Genesis Healthcare Combines with Skilled Nursing Group, Inc., Genesis HealthCare, Press Release (Feb. 2,
      2015), available at https://www.genesishcc.com/about-us/press/press-releases/genesis-healthcare-combines-
      skilled-healthcare-group-inc (last accessed on July 1, 2025).
 12
      See id.


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 China. The partnership with Bang-Er was GRS’ second transaction in China, coming on the heels

 of GRS Health Services Vitality Center, located just outside of Guangzhou.

           24.   On June 15, 2015, the Company expanded its footprint in the SNF sector when it

 acquired 24 skilled nursing facilities and a related contract rehabilitation business from Revera

 Inc. On May 2, 2016, the Company sold its home health and hospice operations to Compassus for

 $72 million in cash and a $12 million note. The divested operations were acquired through

 Genesis’ merger with Skilled Healthcare in February 2015.

           25.   In addition to the foregoing, between 2018 and 2020, the Company created several

 joint venture entities through certain facility divestitures, as discussed in greater detail in Part II.C

 hereof.

           D.    Navigating Liquidity Challenges Post-COVID and ReGen Rescue Financing

           26.   Like many skilled nursing operators, the COVID-19 pandemic and its aftermath

 had a significant impact on the Debtors’ liquidity profile and ability to continue servicing its

 ongoing debts. As a result of its mounting legacy tort and vendor liabilities and the challenging

 post-COVID landscape in the industry, the Company began preparations to file for chapter 11

 protection in late 2020 and early 2021. However, the Company narrowly avoided a bankruptcy

 filing and solved its impending liquidity crisis (at least temporarily) through an out-of-court capital

 infusion by ReGen, a private investment entity, in exchange for certain convertible subordinated

 notes issued by FC-GEN and a lease restructuring agreement with Welltower.

           27.   Specifically, on March 2, 2021, the Company, FC-GEN, and ReGen entered into

 that certain Investment Agreement (the “Investment Agreement”) through which ReGen provided

 a $50 million capital infusion to the Company in exchange for a $50 million convertible




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 subordinated note issued by FC-GEN (the “First ReGen Note”). 13 Pursuant to the Investment

 Agreement, ReGen obtained rights to appoint two directors on the Board of Directors, including

 the Chairman of the Board, upon the initial $50 million capital infusion.

          28.      On March 3, 2021, pursuant to the terms of the Investment Agreement and as

 authorized by the Board, the Company submitted written notice to the NYSE of its intent to

 voluntarily delist its Class A Shares from the NYSE and cease reporting under the Exchange Act.14

 On March 15, 2021, the Company voluntarily withdrew from the NYSE. 15 The Company

 continues to trade over-the-counter on the pink-sheet market.

          29.      Contemporaneously with the issuance of the First ReGen Note in March 2021, the

 Company agreed to a process to terminate its master lease covering 51 facilities leased from

 affiliates of Welltower and transition operations to new operators. 16

          30.      In the years following the initial ReGen investment, as more fully described in Part

 III.B.2.b hereof, FC-GEN issued three additional convertible subordinated notes in the aggregate

 amount of approximately $50 million to ReGen (collectively, the “ReGen Notes”), which when



 13
      See Nursing Home Giant Genesis to Restructure, Voluntarily Delist from NYSE as ReGen Steps in With $50M
      Stake, Skilled Nursing News (Mar. 3, 2021), available at https://skillednursingnews.com/2021/03/nursing-home-
      giant-genesis-to-restructure-voluntarily-delist-from-nyse/ (last accessed on July 1, 2025); Genesis Healthcare
      Announces Strategic Restructuring Steps to Strengthen Balance Sheet and Chart Path for Recovery (Mar. 3,
      2021),                                                available                                             at,
      https://www.genesishcc.com/static/d1281aa459ea1942fc95eb81fca56b53/Genesis_Press_Release%2520-
      %252003_03_21%2520FINAL.pdf (last accessed on July 1, 2025).
 14
      See      Form       8-K,     Genesis   Healthcare,    Inc.    (Mar.   2,    2021),    available   at
      https://www.sec.gov/ix?doc=/Archives/edgar/data/0001351051/000155837021002290/gen-20210302x8k.htm
      (last accessed on July 1, 2025).
 15
      See Notification of Removal from Listing and/or Registration Under Section 12(b) of the Securities Exchange
      Act      of     1934,    Genesis      Healthcare,    Inc.     (Mar.      15,    2021),      available    at
      https://www.sec.gov/Archives/edgar/data/1351051/000134100421000118/form25.htm (last accessed July 1,
      2025).
 16
      See      Form       8-K,     Genesis   Healthcare,    Inc.    (Mar.   2,    2021),    available   at
      https://www.sec.gov/ix?doc=/Archives/edgar/data/0001351051/000155837021002290/gen-20210302x8k.htm
      (last accessed on July 1, 2025).


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 combined with ReGen’s initial $50 million investment resulted in a combined approximate $100

 million investment. Collectively, if converted to equity (which has not occurred to date), the

 ReGen Notes would provide ReGen rights to approximately 93% of the voting shares of Genesis

 Healthcare, Inc. on a fully diluted basis.

                                 PART II:
          GENESIS HEALTHCARE’S BUSINESS SERVICES AND OPERATIONS

        31.     The Company is one of the nation’s largest post-acute care providers in the United

 States, employing approximately 27,000 employees across approximately 175 skilled nursing

 facilities (collectively, the “SNFs”) and assisted/independent living facilities (collectively, the

 “ALFs/ILFs” and together with the SNFs, the “Facilities”), four ancillary healthcare businesses,

 and related administrative support functions. The Company’s business primarily consists of

 (a) inpatient services (the “Inpatient Services”), which is the largest component of the Company’s

 business and includes the operation of the Facilities; (b) ancillary businesses, including

 rehabilitation and respiratory therapy services, a captive accountable care organization, and

 other administrative, management, and physician services; and (c) ownership interests in certain

 non-Debtor joint ventures that hold real property and other interests.

        A.      Inpatient Services

        32.     As discussed below, the Company provides both short-term and long-term care

 services in its approximately 175 Facilities, from short-term rehabilitation therapy and specialized

 cardiac or pulmonary management for high-acuity patients to long-term memory care and

 residency offerings for elderly patients in need of 24/7 care. Regardless of the types of services

 provided, quality patient care is, and always has been, top of mind. Since 2002, more than 200 of

 the Company’s facilities have received gold, silver, and bronze American Health Care




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 Association/National Center for Assisted Living Quality Awards. 17 In October 2024, six of the

 Company’s facilities in Pennsylvania, Maryland, and New Jersey were recognized by Newsweek

 as one of America’s Best Nursing Homes for 2025. 18

          33.     As of the Petition Date, the Company operates and/or manages approximately 175

 Facilities across 18 states, while the Company’s ancillary businesses provide services to patients

 located in approximately 40 states. The below depiction reflects the states in which the Debtors

 operate Facilities ( ), along with shading to indicate location density across ancillary business

 segments across the United States.




 17
      See Quality Awards, available at https://www.genesishcc.com/our-services/our-commitment-to-quality/quality-
      awards (last accessed July 1, 2025).
 18
      See America’s Best Nursing Homes 2025, Newsweek, available at https://rankings.newsweek.com/americas-
      best-nursing-homes-2025 (last accessed on July 1, 2025); see also Six Genesis-Affiliated Skilled Nursing
      Facilities Recognized by Newsweek as one of America’s Best Nursing Homes for 2025, Genesis, available at
      https://www.genesishcc.com/about-us/press/press-releases/six-genesis-affiliated-skilled-nursing-facilities-
      recognized-newsweek (last accessed on July 1, 2025).


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 The Facilities consist of approximately 165 SNFs and ten stand-alone ALFs/ILFs. Collectively,

 as of the Petition Date, the Facilities have approximately 20,000 licensed beds and approximately

 15,000 residents.

                1.      SNFs and ALFs/ILFs

        34.     The Company provides both short-term and long-term care to residents in its SNFs.

 With respect to its short-term care services, the Company spent years developing a variety of

 programs for high-acuity residents who are admitted to its SNFs while recovering from strokes,

 other neurological conditions, cardiovascular and respiratory ailments, joint replacements, and

 other muscular or skeletal disorders. The Company’s transitional care units provide a bridge

 between hospital and home, offering care in an environment that is dedicated to speeding recovery

 and returning home as quickly as possible. The average stay length in the transitional care units

 is typically three to four weeks. In its transitional care units, the Company also provides

 specialized, interdisciplinary care for residents in need of ventilator treatment and rehabilitation,

 on-site dialysis services, cardiac management, pulmonary management, and neurorehabilitation.

        35.     In addition to its short-term care services, the Company also provides 24-hour long-

 term care services for residents, particularly those with chronic conditions or prolonged illnesses.

 The Company also provides memory support services for residents with Alzheimer’s, dementia,

 or other cognitive impairments and hospice care to provide physical, emotional, and spiritual

 support to individuals suffering from terminal diseases. The Company uses interdisciplinary teams

 of experienced medical professionals, including registered nurses, licensed practical nurses,

 certified nursing assistants, and other professionals who provide individualized comprehensive

 nursing care. The Company provides standard services to each of its skilled nursing residents,




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 including room and board, special nutritional programs, social services, recreational activities, and

 related healthcare and other services.

        36.     The Company complements its skilled nursing care business by providing

 assisted/senior living services at ten stand-alone ALFs/ILFs with approximately 785 beds as of the

 Petition Date. An individual interested in admission to an ALF/ILF must first enter into an

 admission agreement, which establishes the terms and conditions under which such resident will

 receive and pay for services. The services and accommodations covered by the daily room rate

 include residential accommodations, activities, security, meals, assistance with daily living

 (including dressing, bathing, and grooming), housekeeping, planned activities, nursing services,

 and local transportation for outside appointments. Residents in the ALFs/ILFs are typically elderly

 individuals who require some support, but not the level of nursing care provided in an SNF.

        37.     With minor exception, the Debtors do not own the Facilities but rather lease the

 Facilities from various landlords. A schedule of the Facilities and their current landlords is

 attached hereto as Exhibit B.

                2.      Inpatient Services Revenue

        38.     The Company’s subsidiaries operating the SNFs and ALFs/ILFs receive revenue

 from several sources, including: (a) Medicare, (b) Medicaid, and (c) other third party and private

 payors. The following table depicts the Company’s Inpatient Services revenue by source for fiscal

 years 2024 and 2023:




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 In fiscal year 2024, Inpatient Services generates approximately 83% of the Company’s revenue.

 The Company uses the revenue generated by the receipt of daily basic rates and service fees to

 fund daily operations, pay rent, service legacy liabilities and other debt obligations, and make

 capital improvements to the SNFs and ALFs/ILFs.

                3.      Regulatory Agencies

        39.     Nearly every aspect of the Company’s Inpatient Services, including healthcare

 services provided to patients and residents as well as the billing and collections thereof, is subject

 to extensive rules and regulations promulgated by (a) the United States Department of Health and

 Human Services’ Centers for Medicare & Medicaid Services, (b) the Department of Aging, Office

 of Health Assurance and Licensing, Bureau of Long Term Care, Bureau of Regulatory

 Enforcement, and (c) numerous long-term care regulatory and/or payor agencies in each state in

 which the Facilities operate.

        B.      Ancillary Businesses

        40.     The    Company      holds   interests   in   four   principal   ancillary   businesses

 (collectively, the “Ancillary Businesses”) that serve both the Facilities and other third-party

 customers. As described more fully in Part III.B (the “Prepetition Capital Structure”), the assets

 of the Ancillary Businesses (other than cash and accounts receivable) are pledged as first-priority

 collateral under the Prepetition Term Loan. The four Ancillary Businesses are: (a) Powerback

 Rehabilitation, (b) Powerback Respiratory, (c) the ACO, and (d) AlignMed, each as defined and

 described below.

                1.      Powerback Rehabilitation and Powerback Respiratory

        41.     In addition to its core inpatient business, the Company owns two ancillary

 businesses, Debtor Powerback Rehabilitation LLC (“Powerback Rehabilitation”) and Debtor




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 Respiratory Health Services LLC (“Powerback Respiratory” and together with Powerback

 Rehabilitation, “Powerback”), that provide rehabilitative and respiratory services to patients and

 residents in its Facilities, as well as other facilities operated by non-Debtor third-parties. In fiscal

 year 2024, the Powerback business segment generated approximately 12% of the Company’s

 revenue.

          42.      Powerback Rehabilitation, a leading provider of physical therapy, occupational

 therapy, speech therapy, respiratory therapy, and wellness services for older adults, 19 was

 introduced as a new product offering by the Company in February 2012. 20 It now operates and

 staffs rehabilitation gyms in all of the Company’s SNF and ALF facilities and also partners with

 unaffiliated non-Genesis skilled nursing centers, assisted living and independent living

 communities, hospitals, home health companies, adult day care programs, and outpatient clinics

 to provide patients and residents with comprehensive therapy services. These services are

 provided at facilities as part of an integrated service offering in connection with its skilled nursing

 care to provide the best possible treatment to high-acuity patients. Approximately 25% of

 Powerback Rehabilitation’s revenue is derived from their service offerings at the Facilities, while

 the remaining 75% is derived from third-party contracts.

          43.      Powerback Rehabilitation is also party to certain management services agreements

 (each, an “MSA”) with certain professional corporations (collectively, the “Powerback PCs”)

 through which the Powerback PCs provide rehabilitative services. Powerback Rehabilitation

 provides certain back-office support services to the Powerback PCs for a monthly fee equal to



 19
      For more information on the           services   provided   by   Powerback    Rehabilitation,   please   visit:
      https://www.getpowerback.com/.
 20
      See Genesis HealthCare Introduces PowerBack Rehabilitation, Genesis HealthCare, Press Release (Feb. 8, 2012),
      available     at      https://www.genesishcc.com/about-us/press/press-releases/genesis-healthcare-introduces-
      powerback-rehabilitation (last accessed on July 1, 2025).


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 (a) the collections of the Powerback PC’s practice during the applicable month minus (b) the

 expenses incurred by the Powerback PC’s practice during the applicable month.

            44.   Powerback Respiratory provides services to skilled nursing facilities, including

 those operated by the Company, to provide respiratory therapy services and supplies for patients

 with pulmonary diagnoses and related conditions. 21                 Approximately 70% of Powerback

 Respiratory’s revenue is derived from their service offerings at the Facilities, while the remaining

 30% is derived from third-party contracts.

                  2.       ACO

            45.   Debtor LTC ACO, LLC (“LTC ACO”) administers an in-house accountable care

 organization (commonly referred to as an “ACO”) in which numerous skilled nursing and acute

 care providers participate, including the Debtors operating the Facilities. In general, an ACO is

 an organization of healthcare providers that agrees to be accountable for the quality, cost, and

 overall care of Medicare fee-for-service beneficiaries that they treat. 22 ACOs are required to have

 processes to coordinate care, promote evidence-based medicine and patient engagement, measure

 and report on quality and cost measures, and demonstrate patient-centeredness. ACOs and their

 participating providers that are successful in meeting program participation, quality, and financial

 goals earn a portion of the savings that accrue to the Medicare program. Under the Medicare

 Shared Savings Program (the “Shared Savings Program”), providers and suppliers are able to

 create an ACO, which in turn agrees to be held accountable for the quality, cost, and experience

 of care.




 21
      For more information on the services provided by                 Powerback    Respiratory,   please   visit:
      https://www.getpowerback.com/services/powerback-respiratory.
 22
      See “About ACOs,” LTC ACO, available at https://www.ltcaco.com/about-acos (last accessed on July 1, 2025).


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        46.     LTC ACO allows participants to share in cost savings achieved through the Shared

 Savings Program on an annual basis. In the ordinary course of business, the ACO tracks the cost

 of benefits provided to long-term Medicare beneficiaries at the Facilities as well as other non-

 Debtor unaffiliated facilities through the Shared Savings Program.           The ACO receives

 approximately 75% of any annual cost savings achieved through the Shared Savings Program

 (the “ACO Distribution”).      The Debtor entities that participate in the ACO (collectively,

 the “Debtor ACO Participants”) comprise approximately 16% of the total participants in the ACO

 and the remaining 84% of participants are non-Debtor, unaffiliated healthcare providers in the

 United States (collectively, the “Non-Debtor ACO Participants” and together with the Debtor ACO

 Participants, the “ACO Participants”).

        47.     The ACO Distribution is paid once per year, typically in October, to LTC ACO and

 depends on the number of beneficiaries and the cost savings achieved throughout the year. As

 ACO Participants themselves, the Debtors are entitled to keep a prorated portion of the ACO

 Distribution. The remainder of the ACO Distribution must be distributed externally within 30

 days of receipt to the Non-Debtor ACO Participants, each of whom rely on the ACO Distribution

 for a critical portion of their annual revenue.

        48.     As of the Petition Date, LTC ACO contracts with more than 28 unaffiliated primary

 care practices composed of 1,200 healthcare providers, continuing to execute on its plan to expand

 its resident attribution, not only inside Genesis but also more broadly throughout the skilled

 nursing industry. In the year ended December 31, 2024, LTC ACO recognized revenue of




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 approximately $39.4 million and is projected to earn approximately $63 million in revenue in

 2025. 23

            49.    LTC ACO is also party to MSAs with certain professional corporations

 (collectively, the “ACOs PCs”) through which the ACO PCs provide additional staff to support

 the ACO. In exchange, LTC ACO provides certain back-office support services to the ACO PCs

 for a monthly fee equal to (a) the collections of the ACO PC’s practice during the applicable month

 minus (b) the expenses incurred by the ACO PC’s practice during the applicable month.

                   3.      AlignMed Partners

            50.    Debtor Genesis Eldercare Physician Services, LLC d/b/a AlignMed (“AlignMed”)

 is a national medical group practice of over 340 healthcare providers which partners with skilled

 nursing facility operators to enhance and strengthen their clinical teams and improve patient

 outcomes. 24      In the year ended December 31, 2024, AlignMed recognized revenue of

 approximately $73.3 million. It specializes in the holistic care of sub-acute, skilled nursing, and

 long-term care patients and provides high-quality clinical, administrative, and practice

 management oversight as well as additional clinical staff within the Facilities through either

 independent contractors or various professional corporations (collectively, the “AlignMed

 PCs”). 25 Specifically, AlignMed and the AlignMed PCs are parties to certain MSAs through which




 23
      The recorded revenue of the LTC ACO includes the entirety of the estimated ACO Distribution for the following
      year. The Non-Debtor ACO Participants portion of the related ACO Distribution is expensed by the Debtors
      throughout the same year in which the revenue is accrued.
 24
      See AlignMed, https://www.alignmedpartners.com/partnerships.
 25
      The AlignMed PCs are discussed in greater detail in the Debtors’ Emergency Motion for Entry of an Order (I)
      Authorizing the Debtors to (A) Honor and Incur Obligations to Professional Corporations and (B) Obtain New
      Professional Corporations Contracts, (II) Extending the Automatic Stay to Certain-Non-Debtors, and (II)
      Granting Related Relief, filed contemporaneously herewith. For the avoidance of doubt, the AlignMed PCs are
      not Debtors in these Chapter 11 Cases and are not wholly owned by the Debtors.



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 the AlignMed PCs agree to provide additional physicians and advanced practice providers to

 enhance the clinical capabilities of the Facilities. In exchange, AlignMed provides certain

 management, administration, staffing, and support services to the AlignMed PCs for a monthly fee

 equal to (a) the collections of the AlignMed PC’s practice during the applicable month minus

 (b) the expenses incurred by the AlignMed PC’s practice during the applicable month.

          C.       Joint Ventures

          51.      Debtor GHC JV Holdings LLC, through certain of its affiliates, directly or

 indirectly owns minority interests in multiple joint ventures (collectively, the “JVs”) with non-

 Debtor third-party entities. 26 Each of the JVs are non-Debtors. As discussed more fully below,

 the four primary JVs are: (a) the NextGen JV; (b) the CCGEN JV; (c) the Seafire JV; and (d) the

 Bold Quail JVs. 27 As described more fully in the Prepetition Capital Structure section herein, the

 equity interests of the JVs are pledged as first-priority collateral under the Prepetition Term Loan.

 In addition, there are a variety of potential cross-defaults under the relevant operating agreements,

 lease agreements, and loan documents to which the JVs and/or the JV members are a party that

 would implicate property of the Debtors’ estates under Bankruptcy Code section 541 and would

 be subject to the automatic stay under Bankruptcy Code section 362, as further described in the JV

 Motion filed contemporaneously herewith.




 26
      The JVs are discussed in greater detail in the Debtors’ Emergency Motion for Entry of Order (I) Enforcing the
      Automatic Stay with Respect to the JVs and (II) Granting Related Relief (the “JV Motion”), filed
      contemporaneously herewith. For the avoidance of doubt, the JVs are not Debtors in these Chapter 11 Cases.
 27
      In addition, Debtor GHC JV Holdings LLC also holds (a) a 49% interest in Magnolia Gardens Limited Liability
      Company, which owns the real property interests in one facility located in Maryland; (b) a 66.67% interest in
      Courtyard Nursing Care Center Partnership, which previously owned the real property interests in one facility
      located in Massachusetts; (c) a 50% interest in Franklin Square/Meridian Healthcare Nursing Home LP, which
      owns the real property interests in one facility located in Maryland; (d) a 50% interest in Capital/Region Genesis
      Eldercare L.L.C., which owns the real property interests in one facility located in New Hampshire; and (v) a 75%
      interest in Bowie Center Limited Partnership, which owns the real property interests in one facility located in
      Maryland.


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                 1.       NextGen JV

        52.      On January 31, 2019, 15 facilities in Pennsylvania, New Jersey, Connecticut,

 Massachusetts, and West Virginia were sold to NextGen Investors, LLC (the “NextGen JV”), a

 Delaware limited liability company. The NextGen JV is owned in part by Debtor GEN-Next

 Holdco I LLC (the “Genesis NextGen Member”), which holds approximately 46% of the Class A

 units of the NextGen JV, and in part by NextGen Investors Holdings, LLC (the “Non-Genesis

 NextGen Member”), which holds approximately 54% of the Class A units of the NextGen JV.

 Next Asset Management II, LLC holds 100% of the Class B units of the NextGen JV. The

 NextGen JV owns certain of the real property interests of certain of these facilities, which the

 Company continues to operate pursuant to a master lease with the NextGen JV. The NextGEN JV

 has its own term loans and has approximately $123.8 million in debt outstanding as of the Petition

 Date, which are not debt obligations of the Debtors. Prior to the Petition Date, the Debtors sent a

 notice to the Non-Genesis NextGen Member electing to exercise a purchase option of the

 underlying facilities.

                 2.       CCGEN JV

        53.      CCGEN Holdings, LLC (the “CCGEN JV”), a Delaware limited liability company,

 is owned by Debtor GEN CCG JV Holdings LLC (the “Genesis CCGEN Member”), which holds

 49% of the membership interests in the CCGEN JV, and CCGEN Holdings Member, LLC

 (the “Non-Genesis CCGEN Member”), which holds 51% of the membership interests in the

 CCGEN JV. Together, the CCGEN JV owns the real property interests in nine facilities in

 Pennsylvania and West Virginia, each of which is operated by the Company under a long-term

 master lease.    The CCGEN JV is financed in part through a separate term loan and has

 approximately $187.0 million in debt outstanding as of the Petition Date, which are not debt




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 obligations of the Debtors. Prior to the Petition Date, the Debtors sent a notice to the Non-Genesis

 CCGen Member electing to exercise a purchase option of the underlying facilities.

                  3.       Seafire JV

          54.     In September 2019, the Company, through its Debtor affiliate, GEN SF JV

 Holdings, LLC (the “Genesis Seafire Member”), acquired an approximate 30.5% stake in Seafire

 NEMA Investment, LLC (the “Seafire JV”). The Seafire JV is a partnership with Vantage Point

 Capital through its affiliate Seafire NEMA Holdings, LLC (the “Non-Genesis Seafire Member”),

 which holds an approximate 69.5% stake of the Seafire JV. Various subsidiaries of the Seafire JV

 own the real property of certain skilled nursing facilities, including approximately 12 facilities

 operated by the Company in Delaware, Maryland, New Hampshire, Pennsylvania, and West

 Virginia. The Seafire JV is financed in part through a separate term loan and a separate promissory

 note and has approximately $246.9 million in debt outstanding as of the Petition Date, which are

 not debt obligations of the Debtors.

                  4.       Bold Quail JV 28

          55.     In February 2020, the Company transitioned operational responsibility for 19

 facilities in California, Washington, and Nevada to non-Debtor Bold Quail Holdings LLC and

 Bold Quail 4 LLC (together, “Bold Quail JV”), each a Delaware limited liability company. The

 Bold Quail JV is a 50/50 partnership between Debtor GEN BQ JV Holdings, LLC (the “Genesis

 Bold Quail Partner”) and New Generation Health, LLC (the “Non-Genesis Bold Quail Partner”).

 Unlike the NextGen JV, the CCGEN JV, and the Seafire JV, the Company does not operate the

 facilities under the Bold Quail JV; rather, the Bold Quail JV owns both the real property and

 operations of all of its facilities.


 28
      Bold Quail 2 LLC and Bold Quail 3 LLC are also joint ventures; however, no Genesis entities own membership
      interests in those joint ventures.


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          56.     On February 28, 2025, the Non-Genesis Bold Quail Partner sent a letter notifying

 the Genesis Bold Quail Partner of its purported exercise of its call option under the Bold Quail JV

 operating agreements to acquire all of the Company’s units in the Bold Quail JV. The Bold Quail

 JV operating agreements set forth a process to value the Company’s units in the Bold Quail JV,

 which remains ongoing as of the Petition Date.

                                    PART III:
                PREPETITION ORGANIZATIONAL AND CAPITAL STRUCTURE

          A.      Prepetition Organizational Structure

                  1. Overview

          57.     The Chapter 11 Cases comprise 299 Debtor entities as reflected in the

 organizational chart attached hereto as Exhibit C. Together, the Debtors’ organizational structure

 is typical of the skilled nursing industry. The non-Debtor entities reflected on the organizational

 chart attached hereto as Exhibit C fall into the following categories: (a) domestic and foreign

 inactive entities that are no longer used by the Company or are in the process of being dissolved;

 or (b) the JVs discussed above. For ease of reference, a simplified organizational chart is provided

 below:




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                   2.       Prepetition Corporate Consolidation

          58.      As a result of the Company’s recent Facility divestitures and asset sales discussed

 above, there are approximately 143 entities in the Company’s corporate structure that are no longer

 active or operational, but still held significant legacy liabilities (collectively, the “Inactive

 Entities”). Given their status as borrowers and/or guarantors under the Debtors’ prepetition

 secured debt, these Inactive Entities would have otherwise been debtor entities in these Chapter

 11 Cases; however, in an effort to reduce administrative costs incurred throughout the Debtors’

 restructuring efforts, including filing fees, administrative fees, and professional fees associated

 with preparing an additional 140+ petitions, schedules of assets and liabilities and statements of

 financial affairs, and monthly operating reports for the Inactive Entities, the Company, prior to the

 Petition Date, merged the Inactive Entities into three Debtor entities: (a) GHC TX Operations LLC,

 (b) Genesis CT XCL Operations LLC, and (c) Genesis OMG Operations LLC (collectively,

 the “Consolidation Entities”). 29 The full list of Inactive Entities is provided on Exhibit D attached

 and will also be available on the Debtors’ restructuring website maintained by the Debtors’

 proposed claims and noticing agent. Any claims, liabilities, and rights associated with the Inactive

 Entities are being addressed in these Chapter 11 Cases because they were merged with the

 Consolidation Entities, each of which are Debtor entities.

          B.       Prepetition Capital Structure

                   1.       Secured Debt Obligations

          59.      As described and defined more fully below, 30 as of the Petition Date, all of the

 Debtors’ assets are pledged to secure debts held by multiple parties, including: (a) affiliates of


 29
      Each of the Consolidation Entities are reflected in pink on the organizational chart attached hereto as Exhibit A.
 30
      A more detailed description of the Debtors’ prepetition debt structure is set forth in the Debtors’ Emergency
      Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing


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 White Oak Healthcare Finance, LLC under the White Oak Prepetition ABL Facilities (as defined

 below); (b) affiliates of Welltower and Omega Healthcare Investors, Inc. (both publicly traded real

 estate investment trusts) as well as other co-lenders under the Prepetition Term Loan Credit

 Facility (as defined below); (c) certain HUD lenders under HUD Operator Security Agreements

 (as defined below) to secure certain facilities encumbered by HUD loans; (d) the Rochester Manor

 HUD Lender (as defined below) under the Rochester Manor HUD Mortgage (as defined below);

 and (e) the Internal Revenue Service, who filed numerous tax liens against Company entities for

 outstanding deferred payroll tax claims. A summary of the Debtors’ prepetition secured debt is as

 follows:

                                  Prepetition Secured Debt Obligations
  Secured Debt                                        Interest          Maturity          Estimated Amount
                                                                         Date                Outstanding
                                                                                            ($ in millions)
  White Oak Prepetition ABL Revolving Credit Facilities
                          White Oak Prepetition Non-HUD ABL Credit Facility
  White Oak Non-HUD Revolver                SOFR + 4.85%       3/9/27                             $223.6
                            White Oak Prepetition HUD ABL Credit Facility
  White Oak HUD Revolver                    SOFR + 6.00%       3/9/27                             $55.7
  Prepetition Term Loan Credit Facility
                                    2016 Term Loan Credit Facility
  Welltower Term Loan ($120M)                    14.0%        6/30/26                             $72.6
  Omega Term Loan ($120M)                        14.0%        6/30/26                             $97.7
  WAX Term Loan ($120M)                          14.0%        6/30/26                             $69.8
  MAO Term Loan ($120M)                          14.0%        6/30/26                             $13.7
                                   2018 Term Loan Credit Facility
  Welltower Term Loan ($40M)                     10.0%        6/30/26                             $39.9
  Omega Term Loan ($40M)                         10.0%        6/30/26                             $23.1
  MAO Term Loan ($40M)                           10.0%        6/30/26                              $1.0
  Other Secured Debt
  HUD Operator Agreements                       Various       Various                              $0.0
  Rochester Manor – HUD Loan                     2.99%         1/1/52                              $8.3
  Internal Revenue Service                   Statutory Rate     N/A                               $103.1
  Total Secured Liabilities                                                                       $708.5




    and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying
    the Automatic Stay, (IV) Scheduling A Final Hearing, and (V) Granting Related Relief (the “DIP Motion”), filed
    contemporaneously herewith.


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          60.      The lien priorities among the various secured lenders are largely governed by

 intercreditor and subordination agreements. In addition, within the Prepetition Term Loan Credit

 Facility, collateral is allocated pursuant to agreement among the various lenders. A simplified

 summary of the lien priorities is as follows: 31




                            a.       White Oak Prepetition Non-HUD ABL Credit Facility

          61.      The Debtors have outstanding obligations under that certain Fifth Amended and

 Restated Credit Agreement, dated as of March 9, 2022 (as otherwise amended, supplemented, or

 otherwise modified from time to time, the “Prepetition Non-HUD ABL Credit Agreement,” and

 together with any other documents executed and delivered in connection therewith, the

 “Prepetition Non-HUD ABL Documents”), by and among, Genesis Healthcare, Inc. (“Ultimate

 Parent”), Ultimate Parent’s affiliates and subsidiaries party thereto as “Borrowers” (as defined

 therein) (collectively with Ultimate Parent, the “Prepetition Non-HUD ABL Borrowers”), the

 “Lenders” (as defined therein) from time-to-time party to the Prepetition Non-HUD ABL Credit


 31
      The following depiction is provided for summary purposes only, but any lien priorities shall be governed solely
      by the rights and privileges afforded under relevant security agreements, intercreditor arrangements, the
      Bankruptcy Code, and other applicable law.


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 Agreement (the “Prepetition Non-HUD ABL Lenders”), and White Oak Healthcare Finance, LLC

 (“White Oak”), as “Administrative Agent” (as defined therein) for the Prepetition Non-HUD ABL

 Lenders (in such capacity, the “Prepetition Non-HUD ABL Agent,” and together with the

 Prepetition Non-HUD ABL Lenders, the “Prepetition Non-HUD ABL Secured Parties”) pursuant

 to which the Prepetition Non-HUD ABL Lenders provided a first lien asset-based lending credit

 facility to the Prepetition Non-HUD ABL Borrowers (the “White Oak Prepetition Non-HUD ABL

 Credit Facility,” and the loans provided thereunder, the “White Oak Prepetition Non-HUD ABL

 Loans”).

        62.     Under the Prepetition Non-HUD ABL Documents, the Prepetition Non-HUD ABL

 Borrowers granted to the Prepetition Non-HUD ABL Agent, for the benefit of itself and the

 Prepetition Non-HUD ABL Lenders, valid and properly perfected continuing liens on and security

 interests in (the “Prepetition Non-HUD ABL Liens”) all “Collateral” (as defined in the Prepetition

 Non-HUD ABL Credit Agreement) (the “Prepetition Non-HUD ABL Collateral”), which includes

 a first priority security interest in, and continuing lien on, the Prepetition Non-HUD ABL

 Borrowers’ cash and accounts receivable (the “Prepetition Non-HUD ABL Priority Collateral”).

        63.     As of the Petition Date, the Debtors were indebted and liable to the Prepetition Non-

 HUD ABL Secured Parties, in the aggregate amount of approximately $223.6 million on account

 of the White Oak Prepetition Non-HUD ABL Loans outstanding under the Prepetition Non-HUD

 ABL Documents, plus all fees, charges and interests as provided in the Prepetition Non-HUD ABL

 Documents, (collectively, the “White Oak Prepetition Non-HUD ABL Obligations”).

                       b.      White Oak Prepetition HUD ABL Credit Facility

        64.     The Debtors have outstanding obligations under that certain Third Amended and

 Restated Revolving Credit Agreement, dated as of March 6, 2020 (as otherwise amended,




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 supplemented, or otherwise modified from time to time, the “White Oak Prepetition HUD ABL

 Credit Agreement,” and together with any other documents executed and delivered in connection

 therewith, the “White Oak Prepetition HUD ABL Loan Documents”), 32 by and among, certain

 affiliates and subsidiaries of Ultimate Parent party thereto as “Borrowers” (collectively, the

 “Prepetition HUD ABL Borrowers”), the Prepetition HUD ABL Borrowers’ affiliates and

 subsidiaries party thereto as guarantors (the “HUD ABL Guarantors,” together with the Prepetition

 HUD ABL Borrowers, the “HUD ABL Loan Parties” and, together with the Prepetition Non-HUD

 ABL Borrowers, the “ABL Loan Parties”; the Prepetition HUD ABL Borrowers and the

 Prepetition Non-HUD ABL Borrowers are collectively referred to herein as the “Prepetition ABL

 Borrowers”), the “Lenders” (as defined therein) from time-to-time party to the Prepetition HUD

 ABL Credit Agreement (the “Prepetition HUD ABL Lenders” and, together with the Prepetition

 Non-HUD ABL Lenders, the “Prepetition ABL Lenders”), and White Oak as “Administrative

 Agent” (as defined therein) (successor-by-assignment to MidCap Funding IV Trust, a Delaware

 statutory trust) for the Prepetition HUD ABL Lenders (in such capacity, the “Prepetition HUD

 ABL Agent,” and together with the Prepetition HUD ABL Lenders, the “Prepetition HUD ABL

 Secured Parties”) 33 pursuant to which the Prepetition HUD ABL Lenders provided a first lien

 asset-based lending credit facility to the Prepetition HUD ABL Borrowers (the “White Oak




 32
      The White Oak Prepetition HUD ABL Credit Agreement and White Oak Prepetition Non-HUD ABL Credit
      Agreement are collectively referred to herein as the “Prepetition ABL Credit Agreements”, and the White Oak
      Prepetition HUD ABL Loan Documents and the White Oak Prepetition Non-HUD ABL Loan Documents are
      collectively referred to herein as the “White Oak Prepetition ABL Loan Documents”.
 33
      The Prepetition HUD ABL Agent and Prepetition Non-HUD ABL Agent are collectively referred to herein as the
      “Prepetition ABL Agents”, and the Prepetition HUD ABL Secured Parties and the Prepetition Non-HUD ABL
      Secured Parties are collectively referred to herein as the “Prepetition ABL Secured Parties”.


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 Prepetition HUD ABL Credit Facility,” and the loans provided thereunder, the “White Oak

 Prepetition HUD ABL Loans”). 34

          65.     Under the White Oak Prepetition HUD ABL Loan Documents, the Prepetition

 HUD ABL Borrowers and the other HUD ABL Loan Parties granted to the Prepetition HUD ABL

 Agent, for the benefit of itself and the Prepetition HUD ABL Lenders, valid and properly perfected

 continuing liens on and security interests in (the “Prepetition HUD ABL Liens” and, together with

 the Prepetition Non-HUD ABL Liens, the “Prepetition ABL Liens”) all “Collateral” (as defined

 in the Prepetition HUD ABL Credit Agreement) (the “Prepetition HUD ABL Collateral” and,

 together with the Prepetition Non-HUD ABL Collateral, the “Prepetition ABL Collateral”), which

 includes a first priority security interest in, and continuing lien on, the Prepetition HUD ABL

 Borrowers’ cash and accounts receivable (the “Prepetition HUD ABL Priority Collateral” and,

 together with the Prepetition Non-HUD ABL Priority Collateral, the “Prepetition ABL Priority

 Collateral”).

          66.     As of the Petition Date, the Debtors were indebted and liable to the Prepetition

 HUD ABL Secured Parties, in the aggregate amount of approximately $55.7 million on account

 of the White Oak Prepetition HUD ABL Loans outstanding under the White Oak Prepetition HUD

 ABL Loan Documents, plus all fees, charges and interests as provided in the White Oak Prepetition

 HUD ABL Loan Documents, (collectively, the “Prepetition HUD ABL Obligations”).

                          c.      Prepetition Term Loan Credit Facility

          67.     The Debtors have obligations under that certain Term Loan Agreement, dated as of

 July 29, 2016 (as otherwise amended, supplemented, or otherwise modified from time to time, the


 34
      The White Oak Prepetition HUD ABL Credit Facility and Prepetition Non-HUD ABL Credit Facility are
      collectively referred to herein as the “White Oak Prepetition ABL Credit Facilities”, and the White Oak
      Prepetition HUD ABL Loans and the White Oak Prepetition Non-HUD ABL Loans are collectively referred to
      herein as the “White Oak Prepetition ABL Loans”.


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 “Prepetition Term Loan Credit Agreement,” and together with any other documents executed and

 delivered in connection therewith, the “Prepetition Term Loan Documents”), by and among

 Ultimate Parent, certain affiliates and subsidiaries of Ultimate Parent party thereto as “Borrowers”

 (collectively, the “Prepetition Term Loan Borrowers”), certain affiliates and subsidiaries of

 Ultimate Parent party thereto as guarantors (together with Ultimate Parent, the “Prepetition Term

 Loan Guarantors,” together with the Prepetition Term Loan Borrowers, the “Prepetition Term

 Loan Obligors”), the “Lenders” (as defined therein) from time-to-time party to the Prepetition

 Term Loan Credit Agreement (the “Prepetition Term Loan Lenders”), 35 and Welltower OP LLC

 (formerly known as Welltower Inc.) as “Administrative Agent” (as defined therein) for the

 Prepetition Term Loan Lenders (in such capacity, the “Prepetition Term Loan Agent,” and together

 with the Prepetition Term Loan Lenders, the “Prepetition Term Loan Secured Parties”) 36 pursuant

 to which the Prepetition Term Loan Lenders provided a term loan credit facility to the Prepetition

 Term Loan Borrowers (the “Prepetition Term Loan Credit Facility,” and the loans provided

 thereunder, the “Prepetition Term Loans”). 37

          68.      Under the Prepetition Term Loan Documents, the Prepetition Term Loan

 Borrowers and the other Prepetition Term Loan Obligors granted to the Prepetition Term Loan



 35
      The original Prepetition Term Loan Lenders include MarkGlen, LLC, an affiliate of Welltower (the “Welltower
      Prepetition Term Loan Lender”) and OHI Mezz Lender LLC, an affiliate of Omega Healthcare, Inc (“Omega”).
      As discussed herein, a portion of the Prepetition Term Loan Credit Facility held by the Welltower Prepetition
      Term Loan Lender was assumed and assigned to MAO and WAX (each as defined herein) on September 30,
      2024.
 36
      The Prepetition Term Loan Agent and Prepetition ABL Agents are collectively referred to herein as the
      “Prepetition Agents”, the Prepetition Term Loan Lenders and Prepetition ABL Lenders are collectively referred
      to herein as the “Prepetition Lenders” and the Prepetition ABL Secured Parties and the Prepetition Term Loan
      Secured Parties are collectively referred to herein as the “Prepetition Non-HUD Secured Parties”.
 37
      The Prepetition Term Loan Credit Facility and White Oak Prepetition ABL Credit Facilities are collectively
      referred to herein as the “Prepetition Credit Facilities”, and the Prepetition Term Loans and the White Oak
      Prepetition ABL Loans are collectively referred to herein as the “Prepetition Non-HUD Loans”.



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 Agent, valid and properly perfected continuing liens on and security interests in (the “Prepetition

 Term Loan Liens”) all “Collateral” (as defined in the Prepetition Term Loan Credit Agreement)

 (the “Prepetition Term Loan Collateral”), which includes second priority valid and properly

 perfected continuing liens on and security interests in all Prepetition Non-HUD ABL Priority

 Collateral, and a first priority security interest in, and continuing lien on, all assets other than the

 Non-HUD ABL Priority Collateral (the “Prepetition Term Loan Priority Collateral”).

          69.     On September 30, 2024, the Welltower Prepetition Term Loan Lender executed

 two Assignment and Assumption agreements with MAO 22322 LLC (“MAO”) and WAX Dynasty

 Partners LLC (“WAX”), pursuant to which a portion of the Prepetition Term Loan Credit Facility

 held by the Welltower Prepetition Term Loan Lender was assumed and assigned. 38                   In total,

 $55,504,328.00 was assigned to WAX and $13,275,000.00 was assigned to MAO and each

 received promissory notes from FC-GEN in corresponding amounts. The interests of WAX and

 MAO are subordinated to the interests of Welltower and Omega under the Prepetition Term Loans.

          70.     As of the Petition Date, the Debtors were indebted to the Prepetition Term Loan

 Secured Parties in the aggregate amount of approximately $317.8 million on account of the

 Prepetition Term Loans outstanding under the Prepetition Term Loan Documents, plus all fees,

 charges and interests as provided in the Prepetition Term Loan Documents (collectively, the

 “Prepetition Term Loan Obligations”). Of that balance, approximately $112.5 million is owed to

 the Welltower Prepetition Term Loan Lender, $120.8 million is owed to Omega, $14.7 million is

 owed to MAO, and $69.8 million is owed to WAX.




 38
      WAX is an entity that shares common beneficial ownership with ReGen, which, as noted previously, holds
      convertible subordinated notes with the Company.


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                       d.      Prepetition HUD Lender Obligations

        71.    Certain Debtors operate Facilities (collectively, the “HUD Facilities”) which are

 encumbered by loans (the “HUD Property Loans”) provided by certain financial institutions

 (the “HUD Lenders”) and insured by the U.S. Department of Housing and Urban Development,

 acting by and through its Secretary and his or her successors, assigns or designates (“HUD”). In

 connection with the HUD Property Loans, such Debtors entered into certain Operator Security

 Agreement (each, a “HUD Operator Security Agreement”) with the applicable HUD Lender

 granting to such HUD Lender valid and properly perfected continuing liens on and security

 interests in (the “Prepetition HUD Lender Liens”) all “Collateral” (as defined in each HUD

 Operator Security Agreement) (the “Prepetition HUD Lender Collateral”) to secure, among other

 things, obligations owed to the HUD Lenders, including the HUD Property Loans (the “Prepetition

 HUD Lender Obligations”).

        72.    As of the Petition Date, the Debtors do not believe any amounts were due and owing

 to the Prepetition HUD Lenders.

                       e.      Rochester Manor HUD Mortgage

        73.    Debtor 40 Whitehall Road Property LLC (the “Rochester Manor Borrower”) has

 outstanding obligations owed to Berkadia Commercial Mortgage LLC (the “Rochester Manor

 HUD Lender”) and, together with HUD, the “Rochester Manor HUD Secured Parties”) under that

 certain Healthcare Facility Note, dated as of December 1, 2016 (as otherwise amended,

 supplemented, or otherwise modified from time to time, the “Rochester Manor HUD Note,” and

 together with any other documents executed and delivered in connection therewith, the “Rochester

 Manor HUD Documents”), which is insured by HUD.




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          74.      Under the Rochester Manor HUD Documents, the Rochester Manor Borrower

 granted to the Rochester Manor HUD Secured Parties valid and properly perfected continuing liens

 on and security interests in (the “Prepetition Rochester Manor HUD Liens”) substantially all of its

 asserts, including the Rochester Manor skilled nursing facility located in Strafford County, New

 Hampshire (the “Prepetition Rochester Manor HUD Collateral”).

          75.      As of the Petition Date, the Rochester Manor Borrower was indebted and liable to

 the Rochester Manor HUD Secured Parties in the aggregate amount of approximately $8.3 million

 on account of the Rochester Manor HUD Note, plus all fees, charges, and interest as provided in

 the Rochester Manor HUD Documents (collectively, the “Prepetition Rochester Manor HUD

 Obligations”).

                            f.       IRS Secured Liens

          76.      Sections 2302(a)(1)-(2) the Coronavirus Aid, Relief, and Economic Security Act

 (the “CARES Act”) allowed employers to defer, without penalty, the deposit and payment of the

 employer portion of Social Security taxes for the period beginning on March 27, 2020 until

 December 31, 2020. 39 Section 2302(d)(3) of the CARES Act required employers to pay 50% of

 the eligible deferred amount by December 31, 2021 and the remaining amount of the eligible

 deferred amount by December 31, 2022. 40

          77.      As permitted by the CARES Act, the Company deferred its employer portion of

 payroll taxes for the period beginning March 27, 2020 until December 31, 2020 for approximately

 312 of its subsidiaries. Such deferred amounts were due in part on December 31, 2021 and in full



 39
      See Pub. L. 116-136, 134 Stat. 281 §§ 2302(a)(1)-(2), (d)(2) (Mar. 27, 2020).
 40
      See id., § 2302(d)(3); see Deferral of employment tax deposits and payments through December 31, 2020, IRS
      FAQs #18, available at https://www.irs.gov/newsroom/deferral-of-employment-tax-deposits-and-payments-
      through-december-31-2020#what-are-applicable-dates-by-which-deferred-deposits-employers-share-social-
      security-tax-must-be-deposited (last accessed July 1, 2025).


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 on December 31, 2022. Given the Company’s liquidity constraints in advance of the payment

 dates, the Company engaged with the IRS on a payment plan to pay the outstanding deferrals to

 the IRS, with penalties and interest.

        78.     Pursuant to certain Installment Agreements (Form 433-D) (the “Prepetition IRS

 Installment Agreements”) executed by certain Debtors in July 2024 in favor of the Department of

 Treasury – Internal Revenue Service (the “IRS”), certain Debtors (the “Prepetition IRS Obligors”)

 agreed to pay to the IRS certain amounts otherwise due and payable relating to such Prepetition

 IRS Obligors’ portion of employer payroll taxes (the “Prepetition Deferred Payroll Taxes”). The

 Prepetition Deferred Payroll Taxes are secured by liens on substantially all assets of the Prepetition

 IRS Obligors, as exhibited by notices of federal tax lien filed prior to the Petition Date against such

 Prepetition IRS Obligors.

        79.     As of the Petition Date, the Debtors were indebted to the IRS, in the aggregate

 amount of approximately $103.1 million on account of the Prepetition Deferred Payroll Taxes

 outstanding under the Prepetition IRS Installment Agreements, plus all fees, charges and interests

 as provided under applicable law (collectively, the “Prepetition IRS Tax Obligations”).

                2.      Unsecured Debt Obligations

        80.     In addition to the secured debt obligations described above, the Debtors have

 numerous unsecured debt obligations, which include, among other things, (a) unsecured notes held

 by MAO and WAX; (b) the ReGen Notes; (c) other vendor notes; (d) provider assessment claims;

 (e) other ordinary course accounts payable and accrued expenses; (f) litigation claims (including

 those subject to settlements, those currently in pending litigation), and exposure incurred but not

 yet reported; (g) workers’ compensation claims and (i) accrued employee compensation (a portion




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 of which the Debtors expect to be paid pursuant to the First Day Pleadings). A summary of the

 Debtors’ prepetition unsecured debt is as follows:

                                 Prepetition Unsecured Debt Obligations
  Unsecured Claims                               Interest     Maturity      Estimated Amount
                                                                 Date          Outstanding
                                                                              ($ in millions)
  MAO and WAX Unsecured Notes
  Split Note (Consolidated A-1)                   12.0%       12/31/26             $26.5
  Split Note (Consolidated A-2)                   12.0%       12/31/26            $144.3
  A-2 Note                                        12.0%       12/31/26            $175.3
  ReGen Notes
  First ReGen Note ($50M)                         1.0%          3/2/26            $50.0
  Second ReGen Note ($10M)                        1.0%         12/2/27            $10.0
  Third ReGen Note ($15M)                         1.0%          1/4/28            $15.0
  Fourth ReGen Note ($24.95M)                     1.5%          1/4/28            $36.2
  Other Unsecured Liabilities
  LGO Note                                        10.0%       12/31/26              $4.4
  Medline Note                                     8.5%       12/31/26             $15.0
  HCSG Note                                        N/A          N/A                $21.6
  Provider Assessments Claims                      N/A          N/A                $74.5
  Accounts Payable                                 N/A          N/A               $339.4
  Accrued Expenses                                 N/A          N/A               $266.2
  Litigation Claims (Estimated Exposure)           N/A          N/A               $259.0
  Workers’ Compensation                            N/A          N/A                $28.5
  Accrued Compensation                             N/A          N/A               $102.1
  Total Unsecured Liabilities                                                    $1,568.0

                         a.      MAO and WAX Unsecured Notes

         81.     On December 22, 2016, certain Debtor entities and Welltower OP, LLC, an affiliate

 of Welltower, entered into various loan agreements secured at the time by real estate assets that

 are no longer owned by the Company. In September 2024, pursuant to a Note Splitter Agreement,

 Welltower assigned its interests in approximately $320 million of these amounts to MAO and the

 remaining approximately $26.5 million to WAX. As of the Petition Date, approximately $346

 million is due and owing under these agreements. These loans accrue interest at 12.0% per annum

 (all such interest is paid-in-kind).




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                       b.      ReGen Notes

        82.    As previewed in Part I.D hereof, the Company, through FC-GEN, is party to four

 subordinated convertible notes issued to ReGen. As discussed above, on March 2, 2021, in

 connection with the Company’s entry into the Investment Agreement, the Company issued the

 first of these subordinated convertible promissory notes to ReGen, which matures on March 2,

 2026, bears interest at 1.0% per annum (payable at maturity), and is convertible into baskets of

 securities (collectively, the “Conversion Baskets”), each comprised of one Class A common unit

 of FC-GEN and one Class C common stock of Genesis, subject to adjustment. On December 2,

 2022, the Company, through FC-GEN, issued a $10.0 million convertible promissory note to

 ReGen, which matures on December 2, 2027 and bears interest at 1.0% per annum (payable at

 maturity). On January 4, 2023, the Company, through FC-GEN issued a $15.0 million convertible

 promissory note to ReGen, which matures on January 4, 2028 and bears interest at 1.0% per annum

 (payable at maturity). Finally, on May 24, 2023, the Company and ReGen entered into that certain

 Note Purchase Agreement (the “Note Purchase Agreement”) pursuant to which ReGen funded an

 additional $25 million in exchange for a convertible subordinated note with FC-GEN. Pursuant to

 the Note Purchase Agreement, ReGen was permitted to appoint an additional member to the Board,

 meaning that ReGen currently has the right to appoint three members of the Board. The Fourth

 ReGen Note matures on January 4, 2028 and bears interest at 1.5% per month, paid-in-kind.

                       c.      Accounts Payable and Accrued Expenses

        83.    The Debtors are liable to certain of their vendors for various accounts payable and

 accrued expenses incurred in the ordinary course of business. As of the Petition Date, the

 outstanding balance owed by the Debtors in unpaid trade and vendor obligations is approximately




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 $339.4 million. Additionally, the Debtors have approximately $266.2 million in accrued expenses

 as of the Petition Date.

                          d.      Litigation Claims

         84.       In the ordinary course of business, the Company receives notices of intent to sue

 and complaints filed in state court for both general and professional liabilities (collectively, the

 “Litigation Claims”), including alleged medical-malpractice, wrongful-death, or other tort causes

 of action. Particularly in those states with limited or no tort reform where the Company currently

 has, or previously had, a large presence — such as New Mexico, Kentucky, West Virginia, and

 others — the constant strain of defending litigation poses substantial threats to the Company’s

 ability to continue caring for their residents and patients. Many of these claims predate the

 COVID-19 pandemic and relate to facilities that are no longer operated by the Company, and yet,

 prior to the Petition Date, the Debtors spend upwards of $8 million per month to settle and defend

 these claims, funds that could otherwise be used for direct resident care or capital expenditures at

 the Facilities.

         85.       In most instances, the Company funds Litigation Claims through operating cash

 flow. Estimated losses from asserted and incurred claims but not reported exposure are based on

 actuarial estimates of the ultimate costs of the claims, which include costs associated with litigating

 and settling claims, and the relationship of past reported incidents to eventual claim payments.

 Indeed, in many instances, the Company settles Litigation Claims and agrees to pay set amounts

 to plaintiffs over time in exchange for their execution of a general release. The settlements are

 unsecured obligations and many of the settlement payments are not owed or payable to plaintiffs

 until months or years after the settlement is reached. As of the Petition Date, the Debtors’




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 outstanding Litigation Claims estimated reserve, including unpaid settlement amounts, is

 approximately $259.0 million.

                       e.      Workers’ Compensation

         86.   The Company was historically self-insured for workers’ compensation claims.

 Estimated losses from asserted and incurred claims but not reported exposure are based on the

 Company’s estimates of the ultimate costs of the claims, which include costs associated with

 litigating and settling claims, and the relationship of past reported incidents to eventual claim

 payments.

         87.   On July 23, 2024, the Company executed a closeout agreement to settle outstanding

 workers’ compensation claims for policy years 2003 through 2023. The Company held letters of

 credit totaling $98.7 million in favor of insurers, including AIG and CNA. Restricted cash and

 cash equivalents of $103.9 million were pledged as security for these letters of credit. AIG

 received $89.0 million as a closeout premium to assume all claim obligations, meaning that the

 related workers’ compensation claims are now the responsibility of AIG, rather than the Company.

 The remaining cash balance of $14.9 million was made available to the Company as unrestricted

 cash.

         88.   Following the closeout in 2024, CNA took over the Company’s workers’

 compensation program and, in connection therewith, the Company issued two letters of credit to

 CNA through 1970 Group, Inc., one for $10.0 million and one for $7.5 million. The Company

 also maintains a restricted account at Truist Bank (the “WC Account”) in connection with the CNA

 workers’ compensation program for the benefit of CNA and utilized for payment of workers’

 compensation claims. The Company employs Sedgwick as its third-party administrator with

 respect to the CNA workers’ compensation program. As of the Petition Date, the balance of the




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 WC Account is approximately $28.5 million. During the Chapter 11 Cases, the Debtors intend to

 pay all premiums and related costs associated with the administration of their current workers’

 compensation programs for the benefit of their current employees in the ordinary course of

 business and seek limited relief from the automatic stay for legacy workers’ compensation insurers

 to fund legacy workers’ compensation claims through existing workers’ compensation collateral.

                3.      Equity

        89.     Genesis Healthcare, Inc.’s charter authorizes the issuance of 1,000,000,000 shares

 of Class A common stock, par value $0.001 per share, 20,000,000 shares of Class B common

 stock, par value $0.001 per share, and 150,000,000 shares of Class C common stock, par value

 $0.001 per share. As noted earlier, in March 2021, in connection with the ReGen Investment,

 Genesis Healthcare voluntarily delisted its common stock from NYSE, but the Genesis Healthcare,

 Inc.’s stock continues to be traded over-the-counter on the pink-sheet market.

                                     PART IV:
                     EVENTS LEADING UP TO THE CHAPTER 11 CASES

        A.      Industry Headwinds and Sustained Liquidity Challenges

        90.     As noted herein, the Company’s liquidity challenges are not new or idiosyncratic.

 As part of the Company’s continuing growth — both organically and through acquisitions — the

 Company transformed into a multi-billion-dollar operation with over 500 facilities in 34 states at

 its peak. With those acquisitions, however, came a complex web of legacy liabilities and

 operational challenges that accumulated over time.

        91.     Further, the COVID-19 pandemic and its resulting after-effects irrevocably

 changed the Company and the industry in ways that are still prevalent today. Immediately from

 the outset of the pandemic, there was a stark contrast between the country’s unified efforts to hail

 hospital and frontline workers but villainize nursing home operators as outbreaks spread among



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 elderly residents and employees in tight quarters. There is no question that this public perception

 of the senior care industry began to play out in the minds of senior citizens (and their families)

 faced with determining whether nursing home care was the appropriate choice based on the

 individual’s healthcare needs.

         92.     More broadly, the COVID-19 pandemic substantially impacted the Company’s

 business and operations for several reasons. First, the pandemic and inflationary after-effects led

 to higher operating costs in all areas, meaning that the Company faced rising costs for labor,

 supplies, personal protective equipment, and other needed supplies to care for their patients and

 residents. In particular, the Company and other operators in the skilled nursing industry were

 heavily reliant on staffing agencies, which substantially increased the cost of its already most

 significant expense – labor. Second, the pandemic also disrupted the Company’s operations in

 significant ways.    By way of example, elective procedures at neighboring hospitals were

 postponed, which meant fewer referrals to the Company’s facilities; certain facilities were required

 to create dedicated “COVID wings” in order to care for those patients and residents who tested

 positive for the virus; and family visitation was restricted, which limited the ability of the residents

 to connect with family and friends in a way that is often one of the potential benefits offered to

 nursing home care. And finally, even while the federal government and certain state governments

 provided some additional funding to the Company, that funding was insufficient to pay the

 substantially higher costs and impact on demand posed by the pandemic.

         93.     In addition, pre-dating COVID and continuing today, the Company struggles with

 insufficient state Medicaid reimbursement rates which are well-known in the industry to fall short

 in covering reasonable operating costs. In particular, insufficient reimbursement rates in the

 Commonwealth of Pennsylvania and the State of New Jersey have been a notable contributor to




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 the Debtors’ financial struggles.    Pennsylvania utilizes a system referred to as the Budget

 Adjustment Factor, which systemically under-reimburses SNF providers throughout the state.

 Additionally, New Jersey has no formal rate-setting methodology, and resorts to a political rate-

 setting process subject to the ebbs and flows of the state budget in any given year.

          94.   Indeed, as a result of these and other factors, the Company prepared for a

 bankruptcy filing in late 2020 and early 2021. ReGen’s initial investment allowed the Company

 to defer that path to determine whether the effects of the COVID-19 pandemic would be able to

 be resolved. Unfortunately, despite some industry experts’ view at the time that widespread use

 of COVID-19 vaccinations would provide an immediate rebound to the industry, that view proved

 to be incorrect. All told, while ReGen’s cumulative investment of approximately $100 million

 (over approximately two years) allowed the Company to avoid bankruptcy and provided a liquidity

 runway to a business struggling with legacy liabilities and other business challenges, it was

 unfortunately insufficient to allow the Company to fully transform its business model and achieve

 long-term viability. As a result, the Company took other liquidity-generating measures, including

 selling assets, deferring payment of trade obligations and other liabilities, reducing payroll

 obligations, divesting unprofitable facilities, and seeking additional funding from external sources.

 Although some of these efforts were successful, collectively, the Company was unable to achieve

 a viable long-term solution, which would have resolved the Company’s significant legacy

 liabilities.

          B.    Operational and EBITDA Turnaround

          95.   As the Company was preparing for a potential bankruptcy in late 2020 and early

 2021 prior to the ReGen investment, the Company’s footprint comprised nearly 300 facilities with

 approximately 90% of those facilities leased from 13 landlords. At that time, virtually all of the




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 Company’s lease portfolios were cash-flow negative after rent and capital expenditure needs. In

 the aggregate, the Company’s business generated approximately $119.2 million and $166.3

 million in negative free cash flow in 2021 and 2022, respectively. Shortly following the initial

 ReGen investment, the Company replaced much of its existing management with a new team that

 focused its efforts on an operational turnaround of the Company’s business.

        96.     Over the past several years, the current management team has focused on a number

 of key performance improvement initiatives (denoted “Critical Success Factors” in the depiction

 below) to help stabilize Genesis.




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          97.      In addition to these efforts, the Company’s new management team focused on

 driving efficiency through, among other things, (a) improving revenue cycle management

 functions; (b) increasing efforts to reduce exposure to tort, employment and workers’

 compensation claims on a go-forward basis; (c) building relationships with key policymakers and

 regulatory agencies; (d) improving skilled mix; (e) driving occupancy and census; (f) optimizing

 vendor partnerships through collaboration and stewardship to reduce market reliance and risk;

 (g) employing necessary reductions in force to streamline and focus support to the market level;

 and (h) strengthening the Company’s employer brand to drive employee referrals and recruitment

 efforts. These efforts were undertaken in conjunction with a tailored and dedicated effort to

 identify low-performing facilities and divest operations while, at the same time, retaining key lease

 portfolios and facilities that drive long-term success. As part of these optimization efforts, the

 Company has reduced its operational footprint from nearly 300 facilities at the time of the initial

 ReGen investment in 2021 to approximately 175 Facilities as of the Petition Date.

          98.      The management team’s focus on the operational turnaround has borne significant

 fruit. With only minor exceptions, the primary lease portfolios are generating positive EBITDA

 (as compared to virtually all of them being negative EBITDA at the time of the initial ReGen

 investment). 41 Nevertheless, the Company’s liquidity profile has worsened, as available cash flow

 is quickly depleted by, among other things, cash interest (approximately $50 million annually),

 necessary capital expenditures (approximately $20 million annually), Litigation Claim settlements

 and defense costs (nearly $100 million annually), IRS installment payments (approximately $20

 million annually), and repayments to Change Healthcare on account of advances they made to the



 41
      The Company expects to exit certain Facilities in the early stages of these Chapter 11 Cases through lease rejection
      motions but does not intend to exit a material number of Facilities now that the lease composition has substantially
      improved and stabilized.


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 Company following a cyber security attack in February 2024 (approximately $23 million

 annually).

        99.     In addition, the Company’s liquidity is further hampered by borrowing availability

 under the White Oak Prepetition ABL Credit Facilities. Over the past couple of years, the

 Company’s borrowing base has contracted due to, among other things, divestiture of facilities and

 adjustments to revenue and liquidity factors used to calculate borrowing availability. These

 constraints have made it even more challenging for the Company to manage operations and finance

 outstanding liabilities. Importantly, the proposed DIP financing described below does not seek to

 prime the White Oak Prepetition ABL Credit Facilities, but through the use of cash collateral, will

 ensure that the Company maintains sufficient liquidity to administer these Chapter 11 Cases.

        C.      Prepetition Initiatives and Forging a Path Forward

        100.    In the months prior to the Petition Date, the Company engaged constructively with

 the lenders under the Prepetition Term Loans to explore potential restructuring scenarios. During

 this time, the Company continued to explore various out-of-court restructuring options, including

 a proposed capital infusion led by certain legacy FC-GEN members. While it became clear that

 an out-of-court transaction would not provide a sustainable solution, and therefore did not come

 to fruition, the Company’s options further narrowed when rumors began circulating about a

 potential chapter 11 filing in May 2025. As litigation plaintiffs began commencing collection

 actions in state court and certain of the Company’s largest trade vendors sought immediate

 payment and tightened credit terms, it became clear to the Company that, in order to preserve its

 ability to continue caring for its patients and residents, a chapter 11 process was unavoidable.

        101.    The Company enters chapter 11 with committed DIP financing and agreement

 among its key stakeholders for an efficient chapter 11 process with a clear exit.




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                1.      The Sale Process and Stalking Horse Agreement

         102.   With the advice of their restructuring professionals, the Debtors came to the

 decision to pursue a marketing and sale process for all or substantially all of their assets under

 Bankruptcy Code section 363. In the coming days, the Debtors intend to file a motion seeking

 approval of bid procedures (the “Bid Procedures Motion”), which I believe will propose a

 reasonable and appropriate timeline for the Debtors’ postpetition marketing and sale process.

         103.   In the weeks and months prior to the Petition Date, the Company engaged directly

 with affiliates of ReGen—with the support of the Prepetition Term Loan Lenders—on potential

 sale transaction structures and ultimately agreed on the current structure embodied in the binding

 Stalking Horse Term Sheet, pursuant to which CPE 88988 LLC (the “Stalking Horse Bidder”)

 would be the purchaser of substantially all of the Debtors’ assets (subject to higher and better bids).

 The Debtors believe that the selection of the Stalking Horse Bid will lead to a more efficient and

 cost-effective marketing process during the Chapter 11 Cases.

         104.   As will be further described in the Bid Procedures Motion, prior to the Petition

 Date, Jefferies prepared a confidential information memorandum and other marketing materials,

 established a virtual data room, and prepared a form non-disclosure agreement to be ready to

 promptly commence the postpetition marketing of the Debtors’ assets immediately, while the

 Debtors seek approval of their proposed bid procedures in parallel.

         105.   I believe that the Stalking Horse Bid, if approved by the Court, will provide the

 Company with the ability to maximize the value of all of their principal assets and provides a

 pathway for general unsecured creditor recoveries that would otherwise likely be unachievable, all

 of which would be subject to a competitive marketing and sale process to elicit higher or otherwise

 better bids.




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                 2.      DIP Negotiations

         106.    When it became clear that a chapter 11 filing would likely be necessary and in the

 best interests of the Debtors and their stakeholders, the Debtors’ focus turned to ensuring that they

 could obtain necessary DIP financing to fund the process. I have worked closely with the Debtors

 and their advisors to evaluate the Debtors’ cash flow forecasts for the Company. Based on

 management’s forecasts and Ankura’s evaluation of the Debtors’ cash needs during the Chapter

 11 Cases, the Debtors determined that they would require access to use of cash collateral and

 postpetition DIP funding of approximately $30 million to provide sufficient liquidity to administer

 the Debtors’ estates, including to fund payroll for the Debtors’ employees, pay vendors, and make

 other payments that are essential or appropriate for the continued operation of the Debtors’

 businesses. I believe that the Debtors’ ability to continue making such payments during the

 Chapter 11 Cases is essential to the Debtors’ continued operation and the preservation of their

 asserts during the pendency of the Chapter 11 Cases.

         107.    Given the fact that substantially all of the Debtors’ assets are encumbered with

 prepetition liens, the Debtors’ existing secured lenders were a natural source to first approach for

 such financing.      As a result, the Debtors approached the Prepetition Term Loan Lenders

 (collectively, the “DIP Lenders”) to request potential debtor-in-possession financing and these

 parties began negotiating potential DIP financing structures. In the exercise of their sound business

 judgment, the Debtors negotiated extensively with the DIP Lenders for access to critical and

 necessary financing.

         108.    Recognizing that failure to secure post-petition financing could jeopardize patient

 and resident care and/or result in the transfer of these facilities (which, by itself, would not address

 any of the existing liabilities), these parties ultimately agreed to provide funds necessary to finance




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 the Chapter 11 Cases and continue to prioritize patient and resident care in the form of a $30

 million junior debtor-in-possession financing facility (the “DIP Facility”). Contemporaneous

 with these discussions, Jefferies also began soliciting potential alternative DIP financing options

 and, as set forth in the declaration in support of the DIP Facility filed contemporaneously herewith,

 I understand that no lender was willing to provide financing to the Debtors on a junior basis and

 on superior terms to those proposed in connection with the DIP Facility.

        109.      Key milestones contemplated by the DIP Facility for the chapter 11 and sale process

 include, among others:

                                        DIP Milestones
                   Entry of Final DIP Order                          35 Days After Petition Date
              Entry of Bidding Procedures Order                      35 Days After Petition Date
            Entry of Order Rejecting Certain Leases                  40 Days After Petition Date
                         Auction Date                                95 Days After Petition Date
                      Entry of Sale Order                           100 Days After Petition Date
                     Consummation of Sale                           210 Days After Petition Date

        110.      I understand that the proposed DIP Facility allows the Debtors to avoid the need to

 engage in a costly and time-consuming priming fight at the outset of the Chapter 11 Cases and

 provided the Debtors with a clear source of financing to administer these cases. In sum, I believe

 that entry into the DIP Facility will provide comfort to the Debtors’ employees, residents, vendors,

 and suppliers that the Debtors will be able to continue to meet their commitments during the

 Chapter 11 Cases, and will enable the Debtors to pursue their restructuring goals in a manner that

 maximizes the value of the Debtors’ estates and prioritizes the health and safety of their patients

 and residents.

        111.      The Debtors intend to move through these Chapter 11 Cases in an efficient manner,

 recognizing that operating skilled nursing and assisted living facilities inside of chapter 11 for an

 extended period comes with its own inherent difficulties. However, with the critical support and



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 funding of the DIP Facility by the DIP Lenders, as well as the support of other key stakeholders,

 the Debtors believe that proceeding in this manner will maximize the value of the Debtors’ estates

 and allow them to continue to prioritize quality care across their remaining businesses.

                   3.       Prepetition Investigation and Enhanced Corporate Governance

          112.     Facing the prospect of a chapter 11 restructuring process, the Company initiated a

 proactive independent investigation of potential claims and causes of action that might be asserted

 by the Company against certain related parties arising from various prepetition transactions,

 including, among other things, potential avoidance actions under the Bankruptcy Code (the

 “Investigation”). Upon his retention by the Company on March 25, 2025, Mr. Jonathan Foster—

 who has more than 30 years of relevant experience and has served on more than 50 boards—with

 the assistance of independent special counsel (Katten), immediately initiated the Investigation. On

 May 16, 2025, Ms. Elizabeth LaPuma—an experienced fiduciary with more than 20 years of

 experience as a restructuring professional—was retained by the Company and immediately joined

 the Investigation, with Katten serving as counsel to the Company at the sole direction of Mr. Foster

 and Ms. LaPuma. The scope and extent of the prepetition Investigation was comprehensive. 42

          113.     Further, Mr. Foster and Ms. LaPuma, with the assistance of Katten, engaged in

 robust, arm’s-length negotiations with the Stalking Horse Bidder to reach the agreements

 subsumed within the Stalking Horse Term Sheet, which includes the purchase or release of claims

 and causes of action held by the Debtors against the Purchaser’s related parties. Among other

 things, the arm’s-length, independent negotiation ensured that the Debtors would obtain a smooth




 42
      While the Investigation remains open to address any issues during these Chapter 11 Cases, the Debtors underscore
      the extensive pre-petition efforts over more than three months by Mr. Foster and Ms. LaPuma, with the assistance
      of Katten, to thoroughly review and investigate the potential causes of action, which ultimately informed the
      negotiations of the DIP Financing and the Stalking Horse Term Sheet that underpin the Debtors’ overall
      restructuring.


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 entrance into these Chapter 11 Cases, with committed DIP financing, and a pathway to maximize

 recoveries to creditors, subject to a competitive marketing and sale process to solicit higher or

 otherwise better bids.

        114.    On July 9, 2025, in order to further strengthen their corporate governance, the

 Company appointed three experienced independent fiduciaries to the Board, which included Mr.

 Foster and Ms. LaPuma. In addition, the Company also appointed Mr. William K. Snyder as

 independent director, who has more than 40 years of experience in the restructuring field. In

 addition, the Company reviewed its existing corporate governance infrastructure and determined

 that it was in the best interests of the Company and its stakeholders to establish two separate special

 committees of the Board among these three independent directors. First, the Board delegated to

 the Special Investigation Committee—comprised of Mr. Foster and Ms. LaPuma—certain rights,

 authority, and powers in connection with, among other things, valuing the proposed causes of

 action proposed to be sold to the Stalking Horse Bidder and evaluating the forms of consideration

 provided by the Stalking Horse Bidder in exchange for such causes of action. Second, the Board

 delegated to the Special Restructuring Committee—comprised of Mr. Foster, Ms. LaPuma, and

 Mr. Snyder—along with the Co-CROs as non-voting advisory members, certain rights, authority,

 and powers in connection with, among other things, any matter relating to the sale process or the

 restructuring process involving the Company and any of its related parties.

        115.    Taken together, the Debtors’ corporate governance safeguards—along with the

 substantial pre-petition efforts to arrive in chapter 11 with a Stalking Horse Bid with a goal to

 obtain and preserve recoveries to unsecured creditors—should provide the Court and all parties-

 in-interest with comfort and security that the Debtors’ goals of maximizing estate value through

 an efficient but effective sale process can be readily achieved.




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                                           PART V:
                                    FIRST DAY PLEADINGS

        116.    To minimize the possible adverse effects on the Company’s business, the Debtors

 have filed various First Day Pleadings to allow the Debtors to meet necessary obligations and

 fulfill their duties as debtors-in-possession for the purposes of preserving value for all of the

 Debtors’ stakeholders. I am familiar with the contents of each First Day Pleading and believe that

 the relief sought therein (a) is necessary to enable the Debtors to operate during the pendency of

 the Chapter 11 Cases with minimal disruption or loss of productivity and value; and (b) is in the

 best interests of the Debtors’ estates, members, and creditors. The facts set forth in each First Day

 Pleading are incorporated herein by reference.

        117.    The First Day Pleadings that are sought to be heard at the first day hearing include:

                (a)     Notice of Designation of Complex Chapter 11 Bankruptcy Case [Docket
                        No. 2];

                (a)     Debtors’ Emergency Motion for Entry of an Order (I) Directing the Joint
                        Administration of the Debtors’ Chapter 11 Cases and (II) Granting Related
                        Relief [Docket No. 3];

                (b)     Debtors’ Emergency Motion for Entry of Order (I) Authorizing the Debtors
                        to (A) File (1) a Consolidated Creditor Matrix, (2) a Consolidated List of
                        Their 30 Largest Unsecured Creditors, and (3) Two Consolidated Monthly
                        Operating Reports, (B) Redact Certain Personally Identifiable Information
                        for Individual Creditors, and (C) Implement Procedures to Protect
                        Confidential Resident and Patient Information; (II) Establishing a Complex
                        Service List; (III) Approving the Form and Manner of Notifying Creditors
                        of Commencement of These Chapter 11 Cases; and (IV) Granting Related
                        Relief [Docket No. 4];

                (c)     Debtors’ Emergency Application for Entry of Order Authorizing the
                        Retention and Employment of Epiq Corporate Restructuring, LLC as
                        Claims, Noticing, Solicitation, and Administrative Agent Effective as of the
                        Petition Date [Docket No. 5]

                (d)     Debtors’ Emergency Motion for Entry of Order (I) Extending Time to File
                        (A) Schedules of Assets and Liabilities and Statements of Financial Affairs
                        and (B) 2015.3 Reports and (II) Granting Related Relief [Docket No. 6];



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            (e)   Debtors’ Emergency Motion for Entry of Order Authorizing Debtors to
                  (I) Maintain Existing Insurance Policies, Surety Bonds, and Letters of
                  Credit and Pay All Obligations Arising Thereunder; (II) Renew, Revise,
                  Extend, Supplement, Change, or Enter into New Insurance Policies, Surety
                  Bonds, and Letters of Credit; and (III) Granting Related Relief [Docket No.
                  7];

            (f)   Debtors’ Emergency Motion for Entry of Order (I) Approving Debtors’
                  Proposed Form of Adequate Assurance of Payment; (II) Establishing
                  Procedures for Resolving Objections by Utility Companies;
                  (III) Prohibiting Utility Companies from Altering, Refusing, or
                  Discontinuing Service; and (IV) Granting Related Relief [Docket No. 8];

            (g)   Debtors’ Emergency Motion for Entry of Interim and Final Orders
                  (I) Authorizing the Debtors to Pay Certain Prepetition Taxes, Fees, and
                  Related Obligations and (II) Granting Related Relief [Docket No. 9];

            (h)   Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)
                  Authorizing Debtors to (A) Pay Prepetition Wages, Compensation, and
                  Employee Benefits and (B) Continue Certain Employee Benefit Programs
                  in the Ordinary Course, and (II) Granting Related Relief [Docket No. 10];

            (i)   Debtors’ Emergency Motion for Entry of Interim and Final Orders
                  (I) Authorizing the Debtors to (A) Continue to Operate Their Existing Cash
                  Management System, (B) Maintain Existing Bank Accounts and Business
                  Forms and Honor Certain Prepetition Obligations Related to the Use
                  Thereof, (C) Maintain Purchasing Card Programs and Honor Prepetition
                  Obligations Related Thereto, and (D) Continue to Perform Intercompany
                  Transactions; (II) Extending the Time for the Debtors to Comply with 11
                  U.S.C. § 345(b) Deposit and Investment Requirements; and (III) Granting
                  Related Relief [Docket No. 11];

            (j)   Debtors’ Emergency Motion for Entry of Interim and Final Orders
                  (I) Authorizing Payment of Prepetition Obligations Owed to Resident Care
                  Vendors and (II) Granting Related Relief [Docket No. 12];

            (k)   Debtors’ Emergency Motion for Entry of Order (I) Authorizing the Debtors
                  to (A) Maintain, Administer, and Modify Their Refund Programs and
                  Practices and (B) Honor Prepetition Obligations Related Thereto; and
                  (II) Granting Related Relief [Docket No. 13];

            (l)   Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)
                  Authorizing the Debtors to (A) Honor and Incur Obligations to Professional
                  Corporations and (B) Obtain New Professional Corporations Contracts, (II)
                  Extending the Automatic Stay to Certain Non-Debtors, and (III) Granting
                  Related Relief [Docket No. 14];



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                (m)     Debtors’ Emergency Motion for Entry of Order (I) Restating and Enforcing
                        the Automatic Stay, (II) Approving the Form and Manner of Notice, and
                        (III) Granting Related Relief [Docket No. 15];

                (n)     Debtors’ Emergency Motion for Entry of Order (I) Authorizing the Debtors
                        to (A) Reject Certain Unexpired Real Property Leases and (B) Abandon
                        Certain Personal Property, Effective as of the Petition Date, and
                        (II) Granting Related Relief [Docket No. 16]; and

                (o)     Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)
                        Authorizing the Debtors to (A) Obtain Postpetition Financing and (B)
                        Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                        Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
                        Final Hearing, and (V) Granting Related Relief [Docket No. 17].

        118.    I have reviewed each of the First Day Pleadings (including the exhibits and

 schedules attached thereto) listed above and, to the best of my knowledge, I believe the facts set

 forth in the First Day Pleadings are true and correct. If I were called upon to testify, I could and

 would, based on the foregoing, testify competently to the facts set forth in each of the First Day

 Pleadings.

        119.    Further, based on my personal knowledge, information supplied to me by other

 members of the Debtors’ management, my review of relevant documents, and my opinion based

 on my experience, discussions with the Debtors’ advisors, and knowledge of the Debtors’

 operations and financial condition, I believe the relief sought in the First Day Pleadings is

 necessary for the Debtors to effectuate a smooth transition into chapter 11 and to avoid irreparable

 harm to their businesses and estates during the pendency of the Chapter 11 Cases, and is in the

 best interests of the Debtors’ patients, residents, creditors, estates, and other stakeholders.

        120.    Accordingly, for the reasons stated herein and in each of the First Day Pleadings, I

 believe that the relief sought in the First Day Pleadings should be granted by the Court in its




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 entirety, together with such other and further relief for the Debtors as this Court deems just and

 proper, in the most expeditious manner possible.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge, information, and belief.

 Dated: July 10, 2025                         By:    /s/ Louis E. Robichaux IV
                                              Name: Louis E. Robichaux IV
                                              Title: Co-Chief Restructuring Officer
                                                     Genesis Healthcare, Inc.




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                                    EXHIBIT A

                                   List of Debtors

                            Debtor Name                        EIN Number
                        Genesis Healthcare, Inc.                XX-XXXXXXX
                  1 Glen Hill Road Operations LLC               XX-XXXXXXX
                   1 Sutphin Drive Operations LLC               XX-XXXXXXX
                 10 Woodland Drive Operations LLC               XX-XXXXXXX
               100 Abbeyville Road Operations LLC               XX-XXXXXXX
                100 Chambers Street Operations LLC              XX-XXXXXXX
                100 W. Queen Street Operations LLC              XX-XXXXXXX
                  105 Chester Road Operations LLC               XX-XXXXXXX
                 1000 Lincoln Drive Operations LLC              XX-XXXXXXX
              1008 Thompson Street Operations LLC               XX-XXXXXXX
                    101 13th Street Operations LLC              XX-XXXXXXX
                     101 Development Group, LLC                 XX-XXXXXXX
              1020 South Main Street Operations LLC             XX-XXXXXXX
                   106 Tyree Street Operations LLC              XX-XXXXXXX
               1070 Stouffer Avenue Operations LLC              XX-XXXXXXX
                    11 Dairy Lane Operations LLC                XX-XXXXXXX
         1100 Norman Eskridge Highway Operations LLC            XX-XXXXXXX
                  1104 Welsh Road Operations LLC                XX-XXXXXXX
                1105 Perry Highway Operations LLC               XX-XXXXXXX
             113 W. McMurray Road Operations LLC                XX-XXXXXXX
             115 S. Providence Road Operations LLC              XX-XXXXXXX
             12-15 Saddle River Road Operations LLC             XX-XXXXXXX
                 1245 Church Road Operations LLC                XX-XXXXXXX
                1248 Hospital Drive Operations LLC              XX-XXXXXXX
                   125 Holly Road Operations LLC                XX-XXXXXXX
                128 East State Street Associates, LLC           XX-XXXXXXX
            136 Donahoe Manor Road Operations LLC               XX-XXXXXXX
                1361 Route 72 West Operations LLC               XX-XXXXXXX
             1539 Country Club Road Operations LLC              XX-XXXXXXX
         1543 Country Club Road Manor Operations LLC            XX-XXXXXXX
              161 Bakers Ridge Road Operations LLC              XX-XXXXXXX
                  1631 Ritter Drive Operations LLC              XX-XXXXXXX
                1650 Galisteo Street Operations LLC             XX-XXXXXXX
             1680 Spring Creek Road Operations LLC              XX-XXXXXXX
                 1700 Market Street Operations LLC              XX-XXXXXXX
                   1700 Pine Street Operations LLC              XX-XXXXXXX
                175 Blueberry Lane Operations LLC               XX-XXXXXXX
                  1770 Barley Road Operations LLC               XX-XXXXXXX
               1848 Greentree Road Operations LLC               XX-XXXXXXX
               191 Hackett Hill Road Operations LLC             XX-XXXXXXX
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                           Debtor Name                         EIN Number
                 2 Blackberry Lane Operations LLC               XX-XXXXXXX
                 20 Maitland Street Operations LLC              XX-XXXXXXX
                 200 Pauline Drive Operations LLC               XX-XXXXXXX
              200 Reynolds Avenue Operations LLC                XX-XXXXXXX
            200 South Ritchie Avenue Operations LLC             XX-XXXXXXX
                  201 Wood Street Operations LLC                XX-XXXXXXX
               2021 Westgate Drive Operations LLC               XX-XXXXXXX
               2029 Westgate Drive Operations LLC               XX-XXXXXXX
                2101 Fairland Road Operations LLC               XX-XXXXXXX
                211-213 Ana Drive Operations LLC                XX-XXXXXXX
             2125 Elizabeth Avenue Operations LLC               XX-XXXXXXX
                   22 Tuck Road Operations LLC                  XX-XXXXXXX
               225 Evergreen Road Operations LLC                XX-XXXXXXX
               227 Evergreen Road Operations LLC                XX-XXXXXXX
                   23 Fair Street Operations LLC                XX-XXXXXXX
                    23 Fair Street Property, LLC                XX-XXXXXXX
                 24 Old Etna Road Operations LLC                XX-XXXXXXX
               2400 Kingston Court Operations LLC               XX-XXXXXXX
              25 East Lindsley Road Operations LLC              XX-XXXXXXX
               25 Ridgewood Road Operations LLC                 XX-XXXXXXX
               2507 Chestnut Street Operations LLC              XX-XXXXXXX
            2600 Northampton Street Operations LLC              XX-XXXXXXX
                262 Toll Gate Road Operations LLC               XX-XXXXXXX
            2720 Charles Town Road Operations LLC               XX-XXXXXXX
                  279 Cabot Street Operations LLC               XX-XXXXXXX
                   279 Cabot Street Property LLC                XX-XXXXXXX
                2800 Palo Parkway Operations LLC                XX-XXXXXXX
                290 Hanover Street Operations LLC               XX-XXXXXXX
               292 Applegarth Road Operations LLC               XX-XXXXXXX
              3 Industrial Way East Operations LLC              XX-XXXXXXX
                  30 West Avenue Operations LLC                 XX-XXXXXXX
                  300 Pearl Street Operations LLC               XX-XXXXXXX
               3000 Windmill Road Operations LLC                XX-XXXXXXX
              302 Cedar Ridge Road Operations LLC               XX-XXXXXXX
              330 Franklin Turnpike Operations LLC              XX-XXXXXXX
             333 Green End Avenue Operations LLC                XX-XXXXXXX
              3430 Huntingdon Pike Operations LLC               XX-XXXXXXX
             3485 Davisville Road Operations II LLC             XX-XXXXXXX
               3514 Fowler Avenue Operations LLC                XX-XXXXXXX
              3590 Washington Pike Operations LLC               XX-XXXXXXX
            3720 Church Rock Street Operations LLC              XX-XXXXXXX
               390 Red School Lane Operations LLC               XX-XXXXXXX
                  40 Crosby Street Operations LLC               XX-XXXXXXX
                40 Whitehall Road Operations LLC                XX-XXXXXXX


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                             Debtor Name                       EIN Number
                    40 Whitehall Road Property LLC              XX-XXXXXXX
               400 McKinley Avenue Operations LLC               XX-XXXXXXX
          4140 Old Washington Highway Operations LLC            XX-XXXXXXX
                  419 Harding Street Operations LLC             XX-XXXXXXX
                    422 23rd Street Operations LLC              XX-XXXXXXX
               425 Buttonwood Street Operations LLC             XX-XXXXXXX
           450 East Philadelphia Avenue Operations LLC          XX-XXXXXXX
                    462 Main Street Operations LLC              XX-XXXXXXX
              50 Mulberry Tree Street Operations LLC            XX-XXXXXXX
                   50 Pheasant Road Operations LLC              XX-XXXXXXX
           500 East Philadelphia Avenue Operations LLC          XX-XXXXXXX
              501 Thomas Jones Way Operations LLC               XX-XXXXXXX
                  505 Weyman Road Operations LLC                XX-XXXXXXX
                  530 Macoby Street Operations LLC              XX-XXXXXXX
                    54 Sharp Street Operations LLC              XX-XXXXXXX
              5485 Perkiomen Avenue Operations LLC              XX-XXXXXXX
             550 South Negley Avenue Operations LLC             XX-XXXXXXX
                  5609 Fifth Avenue Operations LLC              XX-XXXXXXX
            590 North Poplar Fork Road Operations LLC           XX-XXXXXXX
                  60 Highland Road Operations LLC               XX-XXXXXXX
               600 Paoli Pointe Drive Operations LLC            XX-XXXXXXX
             600 W. Valley Forge Road Operations LLC            XX-XXXXXXX
                613 Hammonds Lane Operations LLC                XX-XXXXXXX
                624 N. Converse Street Property, LLC            XX-XXXXXXX
                 640 Bethlehem Pike Operations LLC              XX-XXXXXXX
               642 Metacom Avenue Operations LLC                XX-XXXXXXX
            660 Commonwealth Avenue Operations LLC              XX-XXXXXXX
                    677 Court Street Operations LLC             XX-XXXXXXX
                   7 Baldwin Street Operations LLC              XX-XXXXXXX
                   700 Marvel Road Operations LLC               XX-XXXXXXX
                700 Town Bank Road Operations LLC               XX-XXXXXXX
                 715 East King Street Operations LLC            XX-XXXXXXX
                 723 Summers Street Operations LLC              XX-XXXXXXX
               724 N. Charlotte Street Operations LLC           XX-XXXXXXX
                   735 Putnam Pike Operations LLC               XX-XXXXXXX
                    75 Hickle Street Operations LLC             XX-XXXXXXX
                 777 Lafayette Road Operations LLC              XX-XXXXXXX
                     8 Rose Street Operations LLC               XX-XXXXXXX
                     8 Snow Road Operations LLC                 XX-XXXXXXX
                   80 Maddex Drive Operations LLC               XX-XXXXXXX
               800 Court Street Circle Operations LLC           XX-XXXXXXX
                  803 Hacienda Lane Operations LLC              XX-XXXXXXX
               8100 Washington Lane Operations LLC              XX-XXXXXXX
                  825 Summit Street Operations LLC              XX-XXXXXXX


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                           Debtor Name                             EIN Number
                 84 Cold Hill Road Operations LLC                   XX-XXXXXXX
                   840 Lee Road Operations LLC                      XX-XXXXXXX
                  850 12th Avenue Property, LLC                     XX-XXXXXXX
                  867 York Road Operations LLC                      XX-XXXXXXX
                885 MacBeth Drive Operations LLC                    XX-XXXXXXX
                  900 Tuck Street Operations LLC                    XX-XXXXXXX
             91 Country Village Road Operations LLC                 XX-XXXXXXX
             940 Walnut Bottom Road Operations LLC                  XX-XXXXXXX
                98 Hospitality Drive Operations LLC                 XX-XXXXXXX
   Albuquerque Heights Healthcare and Rehabilitation Center, LLC    XX-XXXXXXX
                Albuquerque Heights Property, LLC                   XX-XXXXXXX
     Belen Meadows Healthcare and Rehabilitation Center, LLC        XX-XXXXXXX
                      Belfast Operations, LLC                       XX-XXXXXXX
                     Brier Oak on Sunset, LLC                       XX-XXXXXXX
                      Camden Operations, LLC                        XX-XXXXXXX
                Canyon Albuquerque Property, LLC                    XX-XXXXXXX
          Canyon Transitional Rehabilitation Center, LLC            XX-XXXXXXX
         Clovis Healthcare and Rehabilitation Center, LLC           XX-XXXXXXX
                         Courtyard JV LLC                           XX-XXXXXXX
                    Encore GC Acquisition LLC                       XX-XXXXXXX
                       Encore Pediatrics, LLC                       XX-XXXXXXX
                       Encore Preakness, LLC                        XX-XXXXXXX
                Encore Rehabilitation Services, LLC                 XX-XXXXXXX
                     Falmouth Operations, LLC                       XX-XXXXXXX
                    Farmington Operations, LLC                      XX-XXXXXXX
               FC-GEN Operations Investment, LLC                    XX-XXXXXXX
           Five Ninety Six Sheldon Road Operations LLC              XX-XXXXXXX
              Forty Six Nichols Street Operations LLC               XX-XXXXXXX
                       Fountain Holdco, LLC                         XX-XXXXXXX
                      Franklin Woods JV LLC                         XX-XXXXXXX
                    GEN BQ JV Holdings, LLC                         XX-XXXXXXX
                    GEN CCG JV Holdings LLC                         XX-XXXXXXX
                       GEN Operations I, LLC                        XX-XXXXXXX
                      GEN Operations II, LLC                        XX-XXXXXXX
                     GEN SF JV Holdings, LLC                        XX-XXXXXXX
                GEN-CCG WO Master Tenant LLC                        XX-XXXXXXX
                      GEN-Next Holdco I LLC                         XX-XXXXXXX
                Genesis Administrative Services LLC                 XX-XXXXXXX
                     Genesis CT Holdings LLC                        XX-XXXXXXX
                 Genesis CT XCL Operations LLC                      XX-XXXXXXX
                     Genesis DE Holdings LLC                        XX-XXXXXXX
                  Genesis Dynasty Operations LLC                    XX-XXXXXXX
             Genesis Eldercare Network Services, LLC                XX-XXXXXXX
            Genesis ElderCare Physician Services, LLC               XX-XXXXXXX


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                          Debtor Name                          EIN Number
                     Genesis HealthCare LLC                     XX-XXXXXXX
                Genesis HealthCare of Maine, LLC                XX-XXXXXXX
                      Genesis Holdings LLC                      XX-XXXXXXX
                    Genesis MA Holdings LLC                     XX-XXXXXXX
                    Genesis MD Holdings LLC                     XX-XXXXXXX
               Genesis Midwest II Operations LLC                XX-XXXXXXX
                    Genesis NH Holdings LLC                     XX-XXXXXXX
                  Genesis NHG Operations LLC                    XX-XXXXXXX
               Genesis NHG-GEN Operations LLC                   XX-XXXXXXX
                    Genesis NJ Holdings LLC                     XX-XXXXXXX
                  Genesis OMG Operations LLC                    XX-XXXXXXX
                   Genesis Operations III LLC                   XX-XXXXXXX
                   Genesis Operations IV LLC                    XX-XXXXXXX
                     Genesis Operations LLC                     XX-XXXXXXX
                    Genesis Operations V LLC                    XX-XXXXXXX
                   Genesis Operations VI LLC                    XX-XXXXXXX
                  Genesis Orion Operations LLC                  XX-XXXXXXX
                    Genesis PA Holdings LLC                     XX-XXXXXXX
                     Genesis Partnership LLC                    XX-XXXXXXX
              Genesis Physician Services MSO, LLC               XX-XXXXXXX
                 Genesis PM CO Operations LLC                   XX-XXXXXXX
                 Genesis PM NJ Operations LLC                   XX-XXXXXXX
                 Genesis PM PA Operations LLC                   XX-XXXXXXX
                    Genesis RI Holdings LLC                     XX-XXXXXXX
                   Genesis SNI Operations LLC                   XX-XXXXXXX
                  Genesis Tang Operations LLC                   XX-XXXXXXX
                    Genesis VA Holdings LLC                     XX-XXXXXXX
                    Genesis VT Holdings LLC                     XX-XXXXXXX
                   Genesis WV Holdings LLC                      XX-XXXXXXX
                       GHC Holdings LLC                         XX-XXXXXXX
                     GHC JV Holdings LLC                        XX-XXXXXXX
                        GHC Payroll LLC                         XX-XXXXXXX
                    GHC TX Operations LLC                       XX-XXXXXXX
                     Granite Ledges JV LLC                      XX-XXXXXXX
             Harborside Danbury Limited Partnership             XX-XXXXXXX
                     Harborside Health I LLC                    XX-XXXXXXX
        Harborside Healthcare Advisors Limited Partnership      XX-XXXXXXX
            Harborside Healthcare Limited Partnership           XX-XXXXXXX
                   Harborside Healthcare, LLC                   XX-XXXXXXX
         Harborside New Hampshire Limited Partnership           XX-XXXXXXX
           Harborside Rhode Island Limited Partnership          XX-XXXXXXX
                 Harborside Toledo Business LLC                 XX-XXXXXXX
                      HBR Kentucky, LLC                         XX-XXXXXXX
                       HBR Trumbull, LLC                        XX-XXXXXXX


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                          Debtor Name                          EIN Number
                     HC 63 Operations LLC                       XX-XXXXXXX
            Kansas City Transitional Care Center, LLC           XX-XXXXXXX
                  Kennebunk Operations, LLC                     XX-XXXXXXX
                      Kennett Center, L.P.                      XX-XXXXXXX
                            KHI LLC                             XX-XXXXXXX
                Leasehold Resource Group, LLC                   XX-XXXXXXX
                    Lewiston Operations, LLC                    XX-XXXXXXX
                         LTC ACO, LLC                           XX-XXXXXXX
                        Magnolia JV LLC                         XX-XXXXXXX
                   Maryland Harborside, LLC                     XX-XXXXXXX
                       Metro Therapy, Inc.                      XX-XXXXXXX
             Nine Haywood Avenue Operations LLC                 XX-XXXXXXX
                          Odd Lot LLC                           XX-XXXXXXX
                     Orono Operations, LLC                      XX-XXXXXXX
                     PAI Participant 1, LLC                     XX-XXXXXXX
                     PAI Participant 2, LLC                     XX-XXXXXXX
                     PAI Participant 3, LLC                     XX-XXXXXXX
                     PAI Participant 4, LLC                     XX-XXXXXXX
                PBR Intermediate Holdings, LLC                  XX-XXXXXXX
                         PDDTSE, LLC                            XX-XXXXXXX
               Peak Medical Assisted Living, LLC                XX-XXXXXXX
              Peak Medical Las Cruces No. 2, LLC                XX-XXXXXXX
                 Peak Medical Las Cruces, LLC                   XX-XXXXXXX
             Peak Medical New Mexico No. 3, LLC                 XX-XXXXXXX
                   Peak Medical Roswell, LLC                    XX-XXXXXXX
                       Peak Medical, LLC                        XX-XXXXXXX
                      Pine Tree Villa LLC                       XX-XXXXXXX
                  Post-Acute Innovations, LLC                   XX-XXXXXXX
             Powerback Pediatrics of Arkansas, LLC              XX-XXXXXXX
              Powerback Pediatrics of Georgia, LLC              XX-XXXXXXX
             Powerback Pediatrics of Missouri, LLC              XX-XXXXXXX
             Powerback Pediatrics of Nebraska, LLC              XX-XXXXXXX
           Powerback Pediatrics of South Carolina, LLC          XX-XXXXXXX
             Powerback Pediatrics of Vermont, LLC               XX-XXXXXXX
                 Powerback Rehabilitation, LLC                  XX-XXXXXXX
              PRMC/GEC at Salisbury Center, LLC                 XX-XXXXXXX
                Property Resource Holdings, LLC                 XX-XXXXXXX
                 Regency Health Services, LLC                   XX-XXXXXXX
                Respiratory Health Services LLC                 XX-XXXXXXX
          Romney Health Care Center Limited Partnership         XX-XXXXXXX
                    Route 92 Operations LLC                     XX-XXXXXXX
               Saddle Shop Road Operations LLC                  XX-XXXXXXX
                        Salisbury JV LLC                        XX-XXXXXXX
                  Scarborough Operations, LLC                   XX-XXXXXXX


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                              Debtor Name                          EIN Number
                          SHG Partnership, LLC                     XX-XXXXXXX
                          SHG Resources, LLC                        XX-XXXXXXX
            Skies Healthcare and Rehabilitation Center, LLC         XX-XXXXXXX
   Skiles Avenue and Sterling Drive Urban Renewal Operations LLC    XX-XXXXXXX
                         Skilled Healthcare, LLC                    XX-XXXXXXX
                    Skowhegan SNF Operations, LLC                   XX-XXXXXXX
        St. Anthony Healthcare and Rehabilitation Center, LLC       XX-XXXXXXX
        St. Catherine Healthcare and Rehabilitation Center, LLC     XX-XXXXXXX
           St. John Healthcare and Rehabilitation Center, LLC       XX-XXXXXXX
         St. Theresa Healthcare and Rehabilitation Center, LLC      XX-XXXXXXX
                       State Street Associates, L.P.                XX-XXXXXXX
                    State Street Kennett Square, LLC                XX-XXXXXXX
                     Stillwell Road Operations LLC                  XX-XXXXXXX
                        Summit Care Parent, LLC                     XX-XXXXXXX
                            Summit Care, LLC                        XX-XXXXXXX
                       Sun Healthcare Group, Inc.                   XX-XXXXXXX
                  SunBridge Beckley Health Care LLC                 XX-XXXXXXX
                    SunBridge Care Enterprises, LLC                 XX-XXXXXXX
            SunBridge Clipper Home of North Conway, LLC             XX-XXXXXXX
               SunBridge Clipper Home of Wolfeboro, LLC             XX-XXXXXXX
                   SunBridge Dunbar Health Care LLC                 XX-XXXXXXX
             SunBridge Gardendale Health Care Center, LLC           XX-XXXXXXX
                SunBridge Goodwin Nursing Home, LLC                 XX-XXXXXXX
                       SunBridge Healthcare, LLC                    XX-XXXXXXX
                     SunBridge Nursing Home, LLC                    XX-XXXXXXX
                  SunBridge Putnam Health Care LLC                  XX-XXXXXXX
                SunBridge Regency-North Carolina, LLC               XX-XXXXXXX
                  SunBridge Regency-Tennessee, LLC                  XX-XXXXXXX
               SunBridge Retirement Care Associates, LLC            XX-XXXXXXX
                   SunBridge Salem Health Care LLC                  XX-XXXXXXX
                 SunDance Rehabilitation Agency, LLC                XX-XXXXXXX
                  SunDance Rehabilitation Holdco, Inc.              XX-XXXXXXX
                     SunDance Rehabilitation, LLC                   XX-XXXXXXX
             The Rehabilitation Center of Albuquerque, LLC          XX-XXXXXXX
            Thirty Five Bel-Aire Drive SNF Operations LLC           XX-XXXXXXX
                    Three Mile Curve Operations LLC                 XX-XXXXXXX
                     Waterville SNF Operations LLC                  XX-XXXXXXX
                      Westbrook Operations, LLC                     XX-XXXXXXX
                 Westwood Medical Park Operations LLC               XX-XXXXXXX




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                                                   EXHIBIT B

                                                 List of Facilities

BU #          Facility Name              State           Landlord                              Address
57045          Cypress Cove               AL              Omega          200 Alabama Ave., Muscle Shoals, AL 35661-3102
55286            Glenwood                 AL         Glenwood Realty              211 Ana Drive, Florence, AL 35630
55287       Hilltop at Glenwood           AL         Glenwood Realty              213 Ana Drive, Florence, AL 35630
57046         Keller Landing              AL              Omega             813 Keller Lane, Tuscumbia, AL 35674-1110
57047         Magnolia Ridge              AL                LTC             420 Dean Drive, Gardendale, AL 35071-2763
57257        Magnolia Village             AL                LTC             420 Dean Drive, Gardendale, AL 35071-2763
57048       Merry Wood Lodge              AL              Omega          280 Mount Hebron Road, Elmore, AL 36025-1526
57049            River City               AL              Omega            1350 14th Avenue SE, Decatur, AL 35601-4364
57050      Cottage of the Shoals          AL              Omega          500 John Aldridge Dr., Tuscumbia, AL 35674-3000
57305       Brier Oak on Sunset           CA            BFW, LLC              5154 Sunset Blvd., Los Angeles, CA 90027
57007            St Joseph's              CT               GMF               6448 Main Street, Trumbull, CT 06611-2075
55273           Lofland Park              DE        Seafire NEMA - JV           715 East King Street, Seaford, DE 19973
55026             Milford                 DE           Cindat/HUD                700 Marvel Road, Milford, DE 19963
55031             Seaford                 DE           Cindat/HUD       1100 Norman Eskridge Highway, Seaford, DE 19973
55226           Cedar Ridge               ME           Sandy River          23 Cedar Ridge Drive, Skowhegan, ME 4976
55227            Harbor Hill              ME           Sandy River               2 Footbridge Road, Belfast, ME 4915
55228            Marshwood                ME           Sandy River                33 Roger Street, Lewiston, ME 4240
55229            Oak Grove                ME           Sandy River                27 Cool Street, Waterville, ME 4901
55230        Orono Commons                ME           Sandy River                117 Bennoch Road, Orono, ME 4473
55231            Pine Point               ME           Sandy River           67 Pine Point Road, Scarborough, ME 4074
55232            RiverRidge               ME           Sandy River               3 Brazier Lane, Kennebunk, ME 4043
55233           Sandy River               ME           Sandy River        119 Livermore Falls Road, Farmington, ME 4938
55234      Sedgewood Commons              ME           Sandy River             22 Northbrook Drive, Falmouth, ME 4105
55235           Springbrook               ME           Sandy River              300 Spring Street, Westbrook, ME 4092
55236       Windward Gardens              ME           Sandy River              105 Mechanic Street, Camden, ME 4843
55247             Fairland                MD        Seafire NEMA - JV       2101 Fairland Road, Silver Spring, MD 20904
13013         Franklin Woods              MD           Managed JV        9200 Franklin Square Drive, Baltimore, MD 21237
55013        Hammonds Lane                MD        Seafire NEMA - JV     613 Hammonds Lane, Brooklyn Park, MD 21225
57110           Larkin Chase              MD           Managed JV       15005 Health Center Drive, Bowie, MD 20716-1017
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BU #             Facility Name            State       Landlord                              Address
        Doctors Community Rehab Center
13034         (Magnolia Gardens)           MD        Managed JV                6710 Mallery Drive, Lanham, MD 20706
55169               Waldorf                MD     Seafire NEMA - JV     4140 Old Washington Highway, Waldorf, MD 20602
57014                Hadley                MA          Chakalos       20 North Maple St, PO Box 720, Hadley, MA 01035-9715
55057     Heritage Woods Asst Living       MA           Ventas                    462 Main Street, Agawam, MA 1001
13998                Lasell                MA        Managed JV               120 Seminary Ave, Auburndale, MA 2466
57512     Renaissance Manor on Cabot       MA           Owned                    279 Cabot Street, Holyoke, MA 01040
57280              Applewood               NH           Aurora                8 Snow Road, Winchester, NH 03470-2806
55062           Country Village            NH            Cindat        91 Country Village Road, Box 441, Lancaster, NH 3584
57281              Crestwood               NH           Aurora                40 Crosby Street, Milford, NH 03055-4707
55266       Elm Wood at Claremont          NH           Omega                  290 Hanover Street, Claremont, NH 3743
57034                Exeter                NH           Aurora                  8 Hampton Rd, Exeter, NH 03833-4806
13118      Granite Ledges of Concord       NH        Managed JV                151 Langley Parkway, Concord, NH 3301
55288             Hackett Hill             NH     Seafire NEMA - JV         191 Hackett Hill Drive, Manchester, NH 3102
55059              Harris Hill             NH        Cindat/HUD             20 Maitland Street, Concord, NH 03301-2696
55070                Keene                 NH        Cindat/HUD                    677 Court Street, Keene, NH 3431
55060               Laconia                NH        Cindat/HUD                 175 Blueberry Lane, Laconia, NH 3246
55065               Lebanon                NH        Cindat/HUD                  24 Old Etna Road, Lebanon, NH 3766
55071           Mountain Ridge             NH        Cindat/HUD              7 Baldwin Street, Franklin, NH 03235-1879
55267              Oceanside               NH           Omega                      22 Tuck Road, Hampton, NH 3842
55268           Partridge House            NH           Omega                   777 Lafayette Road, Hampton, NH 3842
57282            Pheasant Wood             NH           Aurora            50 Pheasant Road, Peterborough, NH 03458-2110
55066              Ridgewood               NH        Cindat/HUD            25 Ridgewood Road, Bedford, NH 03110-6511
57514           Rochester Manor            NH           Owned                  40 Whitehall Road, Rochester, NH 03867
56033              Arbor Glen              NJ        Cindat/HUD             25 East Lindsley Road, Cedar Grove, NJ 7009
56035               Cranbury               NJ       Next HC - JV            292 Applegarth Road, Monroe Twp, NJ 8831
56039             Holly Manor              NJ       Next HC - JV                 84 Cold Hill Road, Mendham, NJ 7945
56043             Jersey Shore             NJ        Cindat/HUD               3 Industrial Way East, Eatontown, NJ 7724
55104              Lopatcong               NJ           Ventas               390 Red School Lane, Phillipsburg, NJ 8865
56045             Maple Glen               NJ        Cindat/HUD             12-15 Saddle River Road, Fair Lawn, NJ 7410
55051               Millville              NJ       Next HC - JV                   54 Sharp Street, Millville, NJ 8332
55116              North Cape              NJ       Next HC - JV           700 Townbank Road, North Cape May, NJ 8204
56050              Ridgewood               NJ        Cindat/HUD              330 Franklin Turnpike, Ridgewood, NJ 7450
56051           Southern Ocean             NJ        Cindat/HUD              1361 Route 72 West, Manahawkin, NJ 8050



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BU #               Facility Name                State       Landlord                                Address
56053                 Troy Hills                 NJ          Melohn                  200 Reynolds Avenue, Parsippany, NJ 7054
        Albuquerque Heights Healthcare and
57345           Rehabilitation Center           NM       Omega/Preferred          103 Hospital Loop NE, Albuquerque, NM 87109
57349    Bear Canyon Rehabilitation Center      NM           LTC                 5123 Juan-Tabo Blvd. NE, Albuquerque, NM 87111
          Belen Meadows Healthcare and
57352           Rehabilitation Center           NM       Belen Health Care            1831 Camino del Llano, Belen, NM 87002
55309      Bloomfield Nursing and Rehab         NM       Omega/Preferred             803 Hacienda Lane, Bloomfield, NM 87413
         Canyon Transitional Rehabilitation
57348                   Center                  NM       Omega/Preferred         10101 Lagrima de Oro NE, Albuquerque, NM 87111
57167               Casa De Oro                 NM        Grey Handy             1005 Lujan Hill Road, Las Cruces, NM 88007-6304
57168             Casa Del Sol Care             NM        ALE Partners            2905 East Missouri, Las Cruces, NM 88011-4813
55310                 Casa Real                 NM       Omega/Preferred             1650 Galisteo Street, Santa Fe, NM 87505
55311       Clayton Nursing and Rehab           NM       Omega/Preferred              419 Harding Street, Clayton, NM 88415
        Clovis Healthcare and Rehabilitation
57354                   Center                  NM             LTC                     1201 N. Norris St., Clovis, NM 88101
57169                  Ladera                   NM       Ralph Hazelbaker       5901 Ouray Road NW, Albuquerque, NM 87120-1381
57170               Las Palomas                 NM       Ralph Hazelbaker         8100 Palomas NE, Albuquerque, NM 87109-5264
57172               Mission Arch                NM      Roswell Health Care      3200 Mission Arch Drive, Roswell, NM 88201-8307
55312          Red Rocks Care Center            NM       Omega/Preferred            3720 Church Rock Street, Gallup, NM 87301
57174                Rio Rancho                 NM       Ralph Hazelbaker       4210 Sabana Grande SE, Rio Rancho, NM 87124-1152
57350           Sandia Ridge Center             NM             LTC                 2216 Lester Drive NE, Albuquerque, NM 87112
55313          Silver City Care Center          NM       Omega/Preferred            3514 Fowler Avenue, Silver City, NM 88061
         Skies Healthcare and Rehabiltation             Albuquerque Health
57347                   Center                  NM             Care                9150 McMahon NW, Albuquerque, NM 87114
            St. Anthony Healthcare and
57353           Rehabilitation Center           NM             LTC                    1400 West 21st Street, Clovis, NM 88101
            The Rehabilitation Center of                   Presbyterian
57346               Albuquerque                 NM          Healthcare            5900 Forest Hills Dr. NE, Albuquerque, NM 87109
57173   The Village at Northrise, Morningside   NM            GMF             2880 N. Roadrunner Parkway, Las Cruces, NM 88011-0853
57351      Uptown Rehabilitation Center         NM             LTC               7900 Constitution Ave. NE, Albuquerque, NM 87110
57111              Abbotts Creek                NC           Omega                 877 Hill Everhart Rd, Lexington, NC 27295-9140
57117              Meridian (NC)                NC           Omega                  707 North Elm St, High Point, NC 27262-3917
57113               Mount Olive                 NC           Omega               228 Smith Chapel Rd, Mount Olive, NC 28365-1917
57114                 Pembroke                  NC           Omega                 310 East Wardell Dr, Pembroke, NC 28372-7997
57116                 Siler City                NC           Omega                 900 West Dolphin St, Siler City, NC 27344-3711



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BU #                Facility Name               State       Landlord                             Address
            Abbeyville Skilled Nursing and
55339            Rehabilitation Center           PA     Integra Healthcare        100 Abbeyville Rd, Lancaster, PA 17603
55176                  Belvedere                 PA           Ventas              2507 Chestnut Street, Chester, PA 19013
56116            Berkshire Commons               PA           Ventas            5485 Perkiomen Avenue, Reading, PA 19606
         Bethlehem North Skilled Nursing and
55353            Rehabilitation Center           PA     Integra Healthcare        2029 Westgate Dr, Bethlehem, PA 18017
         Bethlehem South Skilled Nursing and
55328            Rehabilitation Center           PA     Integra Healthcare        2021 Westgate Dr, Bethlehem, PA 18017
55301             Bridgeville Center             PA        CC-GEN JV            3590 Washington Pike, Bridgeville, PA 15017
            Camp Hill Skilled Nursing and
55329            Rehabilitation Center           PA     Integra Healthcare          1700 Market St, Camp Hill, PA 17011
             Carlisle Skilled Nursing and
55330            Rehabilitation Center           PA     Integra Healthcare       940 Walnut Bottom Rd., Carlisle, PA 17015
          Chambersburg Skilled Nursing and
55331            Rehabilitation Center           PA     Integra Healthcare      1070 Stouffer Ave., Chambersburg, PA 17201
55179               Chapel Manor                 PA           Ventas             1104 Welsh Road, Philadelphia, PA 19115
55109                  Crestview                 PA       Next HC - JV           262 Toll Gate Road, Langhorne, PA 19047
              Easton Skilled Nursing and
55333            Rehabilitation Center           PA     Integra Healthcare         2600 Northampton St, Easton, PA 18045
55239                 Gettysburg                 PA       Next HC - JV           867 York Road, Gettysburg, PA 17325-7501
55184           Highgate at Paoli Pointe         PA           Ventas               600 Paoli Pointe Drive, Paoli, PA 19301
55110                  Hillcrest                 PA       Next HC - JV             1245 Church Road, Wyncote, PA 19095
56071                   Hopkins                  PA        Cindat/HUD            8100 Washington Lane, Wyncote, PA 19095
        Huntingdon Valley Skilled Nursing and
55335            Rehabilitation Center           PA     Integra Healthcare   3430 Huntingdon Pike, Huntingdon Valley, PA 19006
           Inners Creek Skilled Nursing and
55332            Rehabilitation Center           PA     Integra Healthcare         100 W Queen St, Dallastown, PA 17313
           Jersey Shore Skilled Nursing and
55336            Rehabilitation Center           PA     Integra Healthcare       1008 Thompson St, Jersey Shore, PA 17740
          King of Prussia Skilled Nursing and
55337            Rehabilitation Center           PA     Integra Healthcare   600 W. Valley Forge Rd, King of Prussia, PA 19406
          Kingston Court Skilled Nursing and
55338            Rehabilitation Center           PA     Integra Healthcare           2400 Kingston Ct, York, PA 17402
56072                    Laurel                  PA       Next HC - JV              125 Holly Road, Hamburg, PA 19526
56073                Laurel Ridge                PA        CC-GEN JV               75 Hickle Street, Uniontown, PA 15401
            Laureldale Skilled Nursing and
55354            Rehabilitation Center           PA     Integra Healthcare       2125 Elizabeth Ave., Laureldale, PA 19605


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BU #               Facility Name              State       Landlord                              Address
            Lebanon Skilled Nursing and
55340           Rehabilitation Center          PA      Integra Healthcare           900 Tuck St, Lebanon, PA 17042
56120             Lehigh Commons               PA            Ventas           1680 Spring Creek Road, Macungie, PA 18062
55025                  Mifflin                 PA     Seafire NEMA - JV       500 E Philadelphia Ave, Shillington, PA 19607
55092               Mifflin Court              PA            Ventas           450 E Philadelphia Ave, Shillington, PA 19607
        Montgomeryville Skilled Nursing and
55342           Rehabilitation Center          PA      Integra Healthcare    640 Bethlehem Pike, Montgomeryville, PA 18936
55126              Norriton Center             PA     Seafire NEMA - JV          1700 Pine Street, Norristown, PA 19401
55177             Pennsburg Manor              PA            Ventas             530 Macoby Street, Pennsburg, PA 18073
           Pottstown Skilled Nursing and
55346           Rehabilitation Center          PA      Integra Healthcare       724 N. Charlotte St, Pottstown, PA 19464
56077               Quakertown                 PA     Seafire NEMA - JV      1020 South Main Street, Quakertown, PA 18951
56079                 Sanatoga                 PA        Next HC - JV          225 Evergreen Road, Pottstown, PA 19464
56119              Sanatoga Court              PA            Ventas            227 Evergreen Road, Pottstown, PA 19464
         Sinking Spring Skilled Nursing and
55355           Rehabilitation Center          PA     Integra Healthcare      3000 Windmill Rd, Sinking Spring, PA 19608
            Sunbury Skilled Nursing and
55348           Rehabilitation Center          PA     Integra Healthcare          901 Court Street, Sunbury, PA 17801
          Wallingford Skilled Nursing and
55349           Rehabilitation Center          PA     Integra Healthcare     115 S. Providence Road, Wallingford, PA 19086
55241                  Wayne                   PA           Ventas                 30 West Avenue, Wayne, PA 19087
         West Reading Skilled Nursing and
55356           Rehabilitation Center          PA     Integra Healthcare       425 Buttonwood St, West Reading, PA 19611
           York North Skilled Nursing and
55351           Rehabilitation Center          PA     Integra Healthcare            1770 Barley Rd, York, PA 17408
           York South Skilled Nursing and
55352           Rehabilitation Center         PA      Integra Healthcare             200 Pauline Dr, York, PA 17402
56083              Grand Islander             RI         Cindat/HUD            333 Green End Avenue, Middletown, RI 2842
56084                Grandview                RI            Cindat              100 Chambers Street, Cumberland, RI 2864
57044                Greenwood                RI            GMF                1139 Main Avenue, Warwick, RI 02886-1940
56085              Kent Regency               RI         Cindat/HUD           660 Commonwealth Avenue, Warwick, RI 2886
57120           Cumberland Village            TN            Omega              136 Davis Lane, La Follette, TN 37766-3118
57124               Willow Ridge              TN            Omega           215 Richardson Way, Maynardville, TN 37807-3803
56087                Westwood                 VA         Cindat/HUD          20 Westwood Medical Park, Bluefield, VA 24605
55090                Woodmont                 VA         Cindat/HUD              11 Dairy Lane, Fredericksburg, VA 22405
56157                 Bel-Aire                VT         Cindat/HUD                35 Bel-Aire Drive, Newport, VT 5855



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BU #           Facility Name                 State        Landlord                                 Address
55242          Mountain View                  VT        Cindat/HUD         9 Haywood Avenue, P.O. Box 6623, Rutland, VT 5701
55274           Saint Albans                  VT           Omega                 596 Sheldon Road, Saint Albans, VT 5478
57185          Columbia Crest                WA            Ventas            1100 E. Nelson Rd., Moses Lake, WA 98837-2360
57186              Everett                   WA            Ventas           1919 - 112th St., Southwest, Everett, WA 98204-3784
57187           Lake Ridge                   WA            Ventas               817 East Plum, Moses Lake, WA 98837-1870
55055              Ansted                    WV         Cindat/HUD       106 Tyree Street, P.O. Drawer 400, Ansted, WV 25812-9800
56096           Brightwood                   WV         CC-GEN JV                   840 Lee Road, Follansbee, WV 26037
56097            Canterbury                  WV         Cindat/HUD             80 Maddex Drive, Shepherdstown, WV 25443
56099            Carehaven                   WV         Cindat/HUD           2720 Charles Town Road, Martinsburg, WV 25401
56100           Cedar Ridge                  WV         Cindat/HUD             302 Cedar Ridge Road, Sissonville, WV 25320
57126             Dunbar                     WV            Omega                501 Caldwell Lane, Dunbar, WV 25064-2026
                                                     Hampshire County,
55272       Hampshire Health Care             WV             WV                    260 Sunrise Blvd, Romney, WV 26757
56106               Heritage                  WV        CC-GEN JV                  101 13th Street, Huntington, WV 25701
55224     Hidden Valley Health Care           WV     Seafire NEMA - JV              422 23rd Street, Oak Hill, WV 25901
55036               Hilltop                   WV     Seafire NEMA - JV    152 Saddle Shop Road P.O.Box 125, Hilltop, WV 25855
56102                Logan                    WV           Ventas         P.O.Box 540, 55 LMMH Center Road, Logan, WV 25601
56112               Madison                   WV        CC-GEN JV            161 Bakers Ridge Road, Morgantown, WV 26508
55222        Marmet Health Care               WV        Cindat/HUD                  1 Sutphin Drive, Marmet, WV 25315
56103               Miletree                  WV     Seafire NEMA - JV             825 Summit Street, Spencer, WV 25276
57129          Parkersburg Care               WV           Omega              1716 Gihon Road, Parkersburg, WV 26101-9655
55271    Pierpont at Fairmont Campus          WV           Omega               1543 Country Club Road, Fairmont, WV 26554
57130             Pine Lodge                  WV           Omega                405 Stanaford Rd., Beckley, WV 25801-3143
55365         Pine View Center                WV           Omega               400 McKinley Avenue, Harrisville, WV 26362
56104             Pocahontas                  WV        CC-GEN JV            5 Everett Tibbs Road, Marlinton, WV 24954-6500
57131            Putnam Care                  WV           Omega                 300 Seville Rd, Hurricane, WV 25526-9206
56107               Raleigh                   WV     Seafire NEMA - JV      1631 Ritter Drive, P.O. Box 741, Daniels, WV 25832
56108            Ravenswood                   WV           Ventas           200 South Ritchie Avenue, Ravenswood, WV 26164
56109             Rosewood                    WV        CC-GEN JV                    8 Rose Street, Grafton, WV 26354
57132                Salem                    WV           Omega                255 Sunbridge Drive, Salem, WV 26426-1154
56118            Shenandoah                   WV       Next HC - JV          50 Mulberry Tree Street, Charlestown, WV 25414
56110              Sisterville                WV        CC-GEN JV                 201 Wood Street, Sisterville, WV 26175
56111            Teays Valley                 WV        CC-GEN JV            1390 N. Poplar Fork Road, Hurricane, WV 25526
55270     Tygart at Fairmont Campus           WV           Omega               1539 Country Club Road, Fairmont, WV 26554



                                                         6
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BU #          Facility Name              State      Landlord                              Address
56113            Valley                  WV          Ventas             1000 Lincoln Drive, Charleston, WV 25309
                                                                 345 Pocahontas Trail, P.O.Box 249, White Sulphur Springs,
56114      White Sulphur Springs          WV         Ventas                              WV 24986
56115            Willows                  WV       Cindat/HUD          723 Summers Street, Parkersburg, WV 26101




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                                   EXHIBIT C

                               Organizational Chart
                                                                                                                                                                                                                                                                          Case 25-80185-sgj11                  Doc 18 Filed 07/10/25 Entered 07/10/25 04:39:03                                                     Desc Main
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                                                                                                                                                                                                                                                                                                                                         Public                                                                                                                 FC-GEN
  GENESIS CORPORATE STRUCTURE                                                                                                                                                                                                                                                                                                         Shareholders                                                                                                              Members
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Key to Symbols on Organization Chart
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 = NEXT Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               = Sandy River Tenant/Subtenant

  SLIDE 1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               = Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               = Miscellaneous Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 = NEXTGEN Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                               Genesis Healthcare, Inc.                                                                                                                                                                                                                                                                                                                        = Dynasty Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        = Disregarded Entity                                                     = Ventas Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          (for tax purposes)                                                                                                                                   = GMF Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 = NHP Tenant/Subtenant
                                                                                                                                                                                                                                                                                                         Fountain Holdco,                                                                                                                                                                                               = LLC treated as a
                                                                                                                                                                                                                                                                                                               LLC
                                                                                                                                                                                                                                                                                                                                                                 Sun Healthcare Group, Inc.                                                                                                                                                                                                                                                                                    = CCGEN Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        partnership (for tax purposes)                                           = Omega Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        = Partnership                                                            = Altira Tenant/Subtenant                                                     = Integra Tenant/Subtenant
                                          PDDTSE,                                                                                                                                                                                                                                                                                                                                                               SunDance
                                                                                                                                                                                                                                                                                                                                                                                                              Rehabilitation
                                            LLC
                                                                                                                                                                                                                                                                                                                                                                                                               Holdco, Inc.                                                                                             = Joint Venture                                                          = Sabra Tenant/Subtenant                                                      = Debtor
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          (with third parties)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 = Seafire Tenant/Subtenant                                                    = Debtor and Surviving Consolidation
                                                                                                                                                                                                                                                                                                                                                                                                                        5.1%                      66.1%                                                                                                                                                                                                                        Subsidiary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 = Multiple Landlords
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               = Non-Debtor
                                                                                                                                                                                                                                                                                                                                                                                                                                               FC-GEN Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                Investment, LLC


                                                                                                                                                                                                                                                                                                                                                                                                                                              GEN Operations I, LLC



                                                                                                                                                                                                                                                                                                                                                                                                                                              GEN Operations II, LLC



                                                                                                                                                                                                                                                                                                                                                                                                                                            Genesis HealthCare LLC



                                          1%            99%                                                                                                                                                                                                                                                                                                                                                                                                              99%             1%

                                       Genesis                                    Skilled                                                                                                                                                                                                                                                                                                                                   Genesis Holdings                                SHG Partnership,
                                   Partnership, LLC                           Healthcare, LLC                                                                                                                                                                                                                                                                                                                                    LLC                                             LLC




                                                                                                                                                                                                                                                                              Genesis                         CareerStaff               Liberty Health                                                                  PBR                    Powerback                     Genesis                               Genesis                               Post-Acute
                                                                                                                                               Respiratory                  Genesis Orion                                                          101                                                                                                                    Genesis CT XCL                                                      Rehabilitation,
                                                                                                                                                                                                    Odd Lot                GHC                                              Administrative                    Unlimited,                 Corporation,                                                               Intermediate                                            Eldercare                             ElderCare                             Innovations,
                                                                                                                                              Health Services                Operations                                                        Development                                                                                                                Operations, LLC                                                         LLC                                                                                                                                                 GHS International                                                        GHC Holdings LLC
                                                                                                                                                                                                     LLC                  Payroll                                           Services LLC                         LLC                         Ltd.                                                                  Holdings, LLC                                            Network                               Physician                                 LLC
                                                                                                                                                   LLC                          LLC                                                            Group, LLC                                                                                                                                                                                                                   Services,                             Services,                                                                             Inc. (Cayman
                                                                                                                                                                                                                           LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LLC                                   LLC                                                                               Islands Exempted
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Company)

                                                                                                                                                                                                                                                                                                                                                                                                                                              SunDance                                                           Genesis
                                                                                                                                                                                                                                                                                                                                                                                                                                             Rehabilitation,                                                                                                                                                                                                           GHC TX
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Physician                                                                                 GRS Asia
                                                                                                                                                                                                                                                                                                                                                                                                                                                 LLC                                                                                                                                                                                                                Operations LLC
                                                                                                                                                                                                                                                                                                                                                                                   Encore GC Acquisition,                                                                                                        Services                                                LTC ACO, LLC                   Limited (Hong
                                                                                                                                                                                                                                                                                                                                                                                           LLC                                                                                                                  MSO, LLC             PAI Participant                                                    Kong Limited                       State Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1, LLC                                                            Company)                           Kennett
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Square, LLC
                                                               Leasehold                                                       Property                                                                                                                                                                                                                                                                                                      SunDance
                                                                                      Fountain View
                                                               Resource                                                        Resource                                                                                                                                                                                                                                                                                                     Rehabilitation
                                                                                     Reinsurance, Ltd.                                                                                           Summit Care                                                                                                                                                                                                                                                                                                                                                                                                                                                          99%
                                                              Group, LLC                                                     Holdings, LLC                                                                                                                                                                                                                                                                                                  Agency, LLC                                                                                                                                                                                 1%                                                          See Slide 2
                                                                                                                                                                                                 Parent, LLC                                                                                    Encore                                                                                                                 Encore                                                                                                       PAI Participant                                                                                                                   LP
                                                                                                                                                                                                                                                                                                                                                                                    Metro Therapy, Inc.                                                                                                                                                                                                                                 GP                                                           Additional
                                                                                                                                                                                                                                                                                            Pediatrics, LLC                                                                                                        Preakness, LLC                                                                                                      2, LLC
                                                                                                                                                                                                                                                                                                                                                            Encore                                                                                                                                                                                                                                                                                                                                  Subsidiaries
                                                                                                                                 SHG                                                                                                                                                                                                                     Rehabilitation
                                                                                                                               Resources,                                                                                                                                  Powerback                                                                     Services, LLC
                                                                                                                                                                                                   Summit                                                                 Pediatrics of                         Powerback                                                                                                                                                                                                           PAI Participant
                                                                                                                                 LLC                                                                                                                                                                           Pediatrics of
                                                                                                                                                                                                  Care, LLC                                                               Georgia, LLC                                                                                                                                                                                                                                                 3, LLC
                                                                                                                                                                                                                                                                                                              Arkansas, LLC                                                                                                                                                                                                                                                                                                                          State Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Associates,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              GHC JV                                                                                                                                                     L.P.
                                        Albuquerque                                                                                                                                                                                                                         Powerback                           Powerback
                                                                                                                                   23 Fair Street                                                                                                                                                                                                                                                                                                                                             Holdings                              PAI Participant
                                           Heights                                                     624 N.                                                                                                                                                              Pediatrics of                       Pediatrics of
                                                                                                                                   Property, LLC                                                                                                                                                                                                                                                                                                                                               LLC                                     4, LLC
                                        Property, LLC                                               Converse Street                                                                                                                                                       Missouri, LLC                       Nebraska, LLC
                                                                                                    Property, LLC

                                           Canyon                                                                                   279 Cabot                        850 12th                                                                                                                                     Powerback
                                                                                                                                                                                                                                                                            Powerback
                                        Albuquerque                                                                                   Street                         Avenue                                                                                                                                      Pediatrics of
                                                                                                                                                                                                                                                                           Pediatrics of
                                        Property, LLC                                                                              Property LLC                   Property, LLC                                                                                                                                 Vermont, LLC                             Magnolia JV LLC
                                                                                                                                                                                                                                                                          South Carolina,                                                                                                           Salisbury JV                    Courtyard JV LLC                Franklin Woods JV               Granite Ledges                GEN CCG JV                            GEN SF JV
                                                                                                                                                                                                                                                                               LLC                                                                                                                                                                                                                                                Holdings LLC                                                         128 East State
                                                                                                                                                                                                                                                                                                                                                                                                        LLC                                                                LLC                         JV LLC                                                          Holdings, LLC                 Street Associates,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LLC
                                                                                                                                                                  40 Whitehall
                                                                                                                                                                  Road Property                                                                                                                                                                          Magnolia Gardens
                                                                                                                                                                                                                                                                                                                                                         Limited Liability                                                                                                                     Capital/Region Genesis                                                                                          99%
                                                                                                                                                                      LLC                                                                                                                                                                                                                                                                                                                                                                                               Seafire NEMA
                                                                                                                                                                                                                                                                                                                                                            Company                                                                                                                              ElderCare L.L.C.                                                                                              LP
                                                                                                                                                                                                                                                                                                                                                                                                PRMC/GEC at Salisbury                                                                                                                                                  Investment, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     CCGEN
                                                                                                                                                                                                                                                                                                                                                                                                    Center, LLC                         Courtyard                                                                                    Holdings,
                                                                                                                                                                                                                                                                                                                                                                                                                                       Nursing Care                                                                                    LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1%
                                                                                                                                                                                                                                                                                                                                                          Magnolia Gardens                                                                Center                                                                                                                                                                          GP
                                                                                                                                                      3590                                                                                                                                                                                                Real Estate LLC                                                               Partnership
    Albuquerque                                                                           Canyon                         Clovis                                                   Kansas City                                         279 Cabot                   40 Whitehall                                                                                                                                                                                                                                                                                                                           Kennett
                              Belen Meadows                    Brier Oak on                                                                         Washington                                           23 Fair Street                                                                                                                                                                                                                                                                                                                                                                                 Center, L.P.
  Heights Healthcare                                                                    Transitional                  Healthcare and                                              Transitional                                          Street                       Road
                              Healthcare and                   Sunset, LLC                                                                            Pike                                                Operations                                                                                                                                                                                                                                                     Franklin
  and Rehabilitation                                                                   Rehabilitation                 Rehabilitation                                              Care Center,                                        Operations                   Operations
                               Rehabilitation                                                                                                       Operations                                               LLC                                                                                                                                                                                                                                                     Square/Meridian
     Center, LLC                                                                        Center, LLC                    Center, LLC                                                   LLC                                                LLC                          LLC                                                         GEN-Next Holdco I
                                Center, LLC                                                                                                           LLC                                                                                                                                                                                                                                                                                                           Healthcare Nursing
                                                                                                                                                                                                                                                                                                                                      LLC                                                                                                                             Home Limited
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Partnership                                                                                                                                                                                                                             SunBridge
                                                                                                                                                                                                                                                                                                                                                                                 GEN BQ JV
                                                                                                                                                                                                                                                                                                                                                                                Holdings LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Healthcare, LLC
    Skies               St. Anthony                      St. Catherine              St. John                   St. Theresa                   The Rehabilitation                                                                                              300 Pearl                      98 Hospitality                          NEXTGEN
                                                                                                                                                                             105 Chester            1248 Hospital              2 Blackberry
Healthcare and         Healthcare and                   Healthcare and            Healthcare and              Healthcare and                     Center of                                                                                                     Street                           Drive                            INVESTORS, LLC
                                                                                                                                                                                Road                   Drive                       Lane
Rehabilitation         Rehabilitation                   Rehabilitation            Rehabilitation              Rehabilitation                   Albuquerque,                                                                                                  Operations                      Operations
                                                                                                                                                                             Operations              Operations                 Operations
 Center, LLC            Center, LLC                      Center, LLC               Center, LLC                 Center, LLC                         LLC                                                                                                         LLC                              LLC
                                                                                                                                                                                LLC                     LLC                        LLC                                                                                                                    Bold Quail Holdings                   Bold Quail 4 LLC
                                                                                                                                                                                                                                                                                                                                                                 LLC




                                                                                                                                                                                                                                                                                                                                                                                 SunBridge
                                                                                                                                                                                                                                                                Peak Medical, LLC                                                                                               Clipper Home
                                                                                                                                                                                                                                                                                                                        SunBridge Retirement Care                                  of North                                                                                                                                                                                                                                                                                          Harborside Healthcare, LLC
                                                                                                                                                                                                                                                                                                                            Associates, LLC                                     Conway, LLC                                                                Regency Health Services,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LLC
                                                                                                                                                                                                                                                                                    Peak Medical
                                                                                                                                                                                                                                                                                                                                                                                   SunBridge
                                                                                                                                                                                                                                                                                    New Mexico
                                                                                                                                                                                                                                                                                                                                                                                    Nursing
                                                                                                                                                                                                                                              Peak Medical                           No. 3, LLC
                                                                                                                                                                                                                                                                                                                                                                                   Home, LLC
                                                                                                                                                                                                                                                                                                                               SunBridge                                                                                                                                                                                                                                                                       99%
                                                                                                                                                                                                                                                Assisted
                                                                                                                                                                                                                                                                                                                            Gardendale Health                                                                                                                                                                                                                                                                  LP
                                                                                                                                                                                                                                              Living, LLC                           Peak Medical                                                                                                                                               SunBridge Care                                                                                KHI LLC
                                                                                                                                                                                                                                                                                                                            Care Center, LLC                                     SunBridge
                                                                                                                                                                                                                                                                                     Las Cruces,                                                                                                                                                 Enterprises,
                                                                                                                                                                                                                                                                                                                                                                                Clipper Home
                                                                                                                                                                                                                                                                                        LLC                                                                                                                                                         LLC
                                                                                                                                                                                                                                                                                                                                                                                of Wolfeboro,                                                                                                    SunBridge
                                                                                                                                                                                                                                                                                                                                                                                    LLC                                      SunBridge                                                           Regency -                                                                                  1%
                                                                                                                                                                                                                                               Peak Medical
                                                                                                                                                                                                                                                                                                                                                                                                                           Beckley Health                                                      Tennessee, LLC
                                                                                                                                                                                                                                               Roswell, LLC                         Peak Medical                                                                                                                                                                                                                                                                                            GP
                                                                                                                                                                                                                                                                                                                                                                                                                             Care LLC                                                                                             Maryland
                                                                                                                                                                                                                                                                                     Las Cruces                                                                                   SunBridge                                                                                                                                                                                                           Harborside
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Harborside, LLC
                                                                                                                                                                                                                                                                                     No. 2, LLC                                                                                    Goodwin                                   SunBridge                                                            SunBridge                                                                                       Healthcare Advisors
                                                                                                                                                                                                                                                                                                                                                                                 Nursing Home,                             Putnam Health                                                        Regency-North                                                                                     Limited Partnership
                                                                                                                                                                                                                                                                                                                                                                                      LLC                                    Care LLC                                                           Carolina, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                            SunBridge
                                                                                                                                                                                                                                                                                                                                                                                                                           Dunbar Health
                                                                                                                                                                                                                                                                                                                                                                                                                            Care LLC                                                                                                                          1%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              GP
                                                                                                                                                                                                                                                                                                                                                                                                                            SunBridge                                                                                                                                                                                       Harborside Health I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  99%                                                                  Harborside Toledo Business
                                                                                                                                                                                                                                                                                                                                                                                                                           Salem Health                                                                                                                            Harborside Healthcare                                           LLC
                                                                                                                                                                                                                                                                                                                                                                                                                            Care LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LP                                                                              LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Limited Partnership

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1%                       99%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             GP                       LP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              GP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Harborside New
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Bowie Center                                                                                                                                                           Hampshire
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Limited                                                  99%                                                                                                           Limited
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Partnership
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              99%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LP                    1%                                                                                    Partnership
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 GP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Harborside                                                              40 Crosby
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Harborside
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Rhode Island
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Danbury                                                                                                               Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       HBR Kentucky, LLC                                                                       Limited
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Limited
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Partnership
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Partnership                                                                                                             LLC

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Pine Tree Villa LLC                                                                                                                                            50 Pheasant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          HBR Trumbull,                                                                                                  Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LLC                                                                                                     Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1 Glen Hill Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Operations LLC                                                                                               8 Snow Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LLC
                                                                                                                                                                                                                                                               Case 25-80185-sgj11                            Doc 18 Filed 07/10/25 Entered 07/10/25 04:39:03                                 Desc Main
                                                                                                                                                                                                                                                                                                                    Document    Page 73 of 81


                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Key to Symbols on Organization Chart                                                                                                                                    = Sandy River Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  = NEXT Tenant/Subtenant
GENESIS CORPORATE STRUCTURE                                                                                                                                                                                                                                                                                                                                                                                                                                                                 = Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  = NEXTGEN Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          = Miscellaneous Tenant/Subtenant

SLIDE 2                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   = Dynasty Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            = Disregarded Entity                                                  = Ventas Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (for tax purposes)                                                                                                                          = GMF Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  = NHP Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            = LLC treated as a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          = CCGEN Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            partnership (for tax purposes)                                        = Omega Tenant/Subtenant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            = Partnership                                                         = Altira Tenant/Subtenant                                               = Integra Tenant/Subtenant

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            = Joint Venture                                                       = Sabra Tenant/Subtenant                                                = Debtor
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (with third parties)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  = Seafire Tenant/Subtenant                                              = Debtor and Surviving Consolidation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Subsidiary
                                                                                                                                                                                                                                                                                                                 Continued from Slide 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  = Multiple Landlords
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          = Non-Debtor

                                                                                                                                                                                                                                                                                                                 GHC Holdings LLC




                                                                                                                                                                                                                                                                                                                                                                                                                                                        Genesis OMG                                                                400 McKinley                                                                     Genesis NHG-
                                                                                                                                Genesis Midwest                                                                                                                                                                              Genesis SNI                                                               Genesis Dynasty                                                                                   Genesis NHG                                                      Genesis
                                                                      Genesis                                                                                                Genesis Operations                                    Genesis Tang                                      Genesis                                                              Genesis                                                                                      Operations LLC                                                                 Avenue                                                                            GEN
                                                                                                                                 II Operations                                                                                                                                                                               Operations                                                                Operations LLC                                                                                   Operations LLC                                                  HealthCare of
                                                                    Operations III                                                                                                IV LLC                                          Operations LLC                                   Operations V                                                         Operations VI                                                                                                                                                              Operations LLC                                                                  Operations LLC
                                                                                                                                     LLC                                                                                                                                                                                        LLC                                                                                                                                                                                                                                      Maine, LLC
                                                                        LLC                                                                                                                                                                                                           LLC                                                                   LLC
                                                                                                GEN-CCG WO
                                                                                               Master Tenant LLC                                                                                                                                                                                                                                                                                                                                                                                735 Putnam Pike
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Belfast                                                             Skowhegan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Operations LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Operations,                     Kennebunk                               SNF
                                                                      2101 Fairland                                                                                                                                                                                 1000 Lincoln Drive                                              200 Reynolds                                                                                                       10 Woodland Drive
                                                                                                                                 462 Main                       227                                                                                                  Operations LLC                                                   Avenue
                                                                                                                                                                                                                                                                                                                                                             49.8%                                                       Five Ninety Six                                                                                                              LLC                           Operations,                          Operations,
                                                                     Road Operations                                                                                                           390 Red                               530 Macoby                                                                                                                                                                                                         Operations LLC
                                                                          LLC
                                                                                                                                   Street                     Evergreen
                                                                                                                                                                                             School Lane                                Street                                                                                       Operations              LP /                HC 63                                    Sheldon Road                                                                                                                                                LLC                                   LLC
                                                                                                                                 Operations                     Road                                                                                                                                                                                                                                                     Operations LLC
                                                                                                                                                                                              Operations                            Operations LLC                                                                                      LLC                  50%                Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Camden
                                                                                                                                   LLC                        Operations                                                                                                                                                                                                          LLC                                                                                                           1539 Country Club
                                                                                                                                                                LLC
                                                                                                                                                                                                 LLC                                                                                                                                                         GP                                                                                                                                  Road Operations                                Operations,
                                                                                                                                                                                                                                                                     Three Mile Curve                                                                                                                                                                                                                                                                                                Lewiston                             Westbrook
                                                                                                                                                                                                                                                                                                                                                                                                                                                         642 Metacom                                  LLC                                         LLC
                                                                                                                                                                                                                                                                      Operations LLC                                                                                                                                                                                                                                                                                                Operations,                           Operations,
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Avenue Operations
                                                                                                                                                                                                                                                                                                                                                                                                                          777 Lafayette                                                                                                                                                LLC                                  LLC
                                                                                                                                1104 Welsh                                                                                                                                                                                                 211-213                                                                                                           LLC
                                                                                                                                                                                              450 East                              5485 Perkiomen
                                                                                                                                   Road                        2507 Chestnut                Philadelphia                                Avenue
                                                                                                                                                                                                                                                                                                                                          Ana Drive                                   0.2%                               Road Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Falmouth
                                                                                                                                                                                                                                                                                                                                          Operations                                                                          LLC
                                                                                                                                Operations                        Street                      Avenue                                Operations LLC
                                                                                                                                                                                                                                                                    200 South Ritchie
                                                                                                                                                                                                                                                                                                                                                                                      LP                                                                                                          1543 Country Club                              Operations,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Orono                               Waterville
                                                                                                                                   LLC                                                                                                                                                                                                      LLC                                                                                                                                                                                                     LLC
                                                                                                                                                                Operations                   Operations                                                                                                                                                                                                                                                                                             Road Manor                                                                     Operations,                             SNF
                                                                                                                                                                                                                                                                    Avenue Operations
                                                                                                                                                                   LLC                          LLC                                                                                                                                                           Romney Health                                                                                3720 Church                             Operations LLC                                                                    LLC                                 Operations
                                                                                                                                                                                                                                                                          LLC
                                                                                                                                                                                                                                                                                                                                                               Care Center                                                                                 Rock Street                                                                                                                                                     LLC
                                                                                                                                                                                                                                                                                                                                                                                                                          22 Tuck Road                                                                                                              Farmington
                                                                                                                                 1680 Spring                                                                                                                                                                                                                     Limited                                                                                  Operations LLC
                                                                                                                                                                                                                                                                                                                                                                                                                         Operations LLC                                                                                                             Operations,                     Scarborough
                                                                                                                                 Creek Road                                                                                         600 Paoli Pointe                                                                                                           Partnership
                                                                                                                                  Operations                        30 West                                                              Drive                                                                                                                                                                                                                                                      3514 Fowler                                        LLC                          Operations,
                                                                                                                                    LLC                             Avenue                                                          Operations LLC                         Route 92                                                                                                                                                                                                                   Avenue                                                                            LLC
                                                                                                                                                                   Operations                                                                                            Operations LLC                                                                                                                                                                                                            Operations LLC
                                                                                                                                                                     LLC                                                                                                                                                                                                                                                   290 Hanover                      803 Hacienda
                                                                                                                                                                                                                                                                                                                                                                                                                         Street Operations                 Lane Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                LLC                             LLC

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    419 Harding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Street                                                         Moriah Healthcare                      Pinnacle Health
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Operations LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           AttainCare
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Partners, LLC                          Partners LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Forty Six                                                                                                                                                                       LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                            Nichols Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                           Operations LLC
          Genesis                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1650 Galisteo
       Operations LLC                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Street Operations                                                        Moriah                            Pinnacle HP                  AttainCare
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LLC                                                             Consulting                           Consulting                  Consulting
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Services LLC                         Services LLC                Services LLC




                  Genesis CT                   Genesis DE                      Genesis MA                   Genesis MD                                                                                                                                     Genesis NJ                                                                                   Genesis PA                                                                                                                           Genesis RI                                                            Genesis VA                            Genesis VT                            Genesis WV
                                                                                                                                                                          Genesis NH
                 Holdings LLC                 Holdings LLC                    Holdings LLC                  Holdings LLC                                                                                                                                  Holdings LLC                                                                                 Holdings LLC                                                                                                                         Holdings LLC                                                          Holdings LLC                          Holdings LLC                           Holdings LLC
                                                                                                                                                                           Holdings
                                                                                                                                                                             LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  100                                                                                                       Nine
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                723 Summers
                                                                                                                                                  191 Hackett Hill                                                                                                                                                                                                                                                                                                             Chambers                                                                                                   Haywood                          1 Sutphin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       660                       11 Dairy                                                                                        422 23rd          Street
                                700 Marvel                                                                                                        Road Operations                                                                                            25 East                                                                                                                                                                                                             Street                                                                                                    Avenue                            Drive
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Commonwealth                     Lane                                                                                           Street         Operations
                                  Road                       1100 Norman                      4140 Old                                                 LLC                               175 Blueberry                                                       Lindsley                                54 Sharp                                                                                                                                                                  Operations                                                                                                 Operations                       Operations
                                                                                                                             613                                                                                                                                                                                                  1020 South Main                                                                                                                                                                    Avenue                     Operations                                                                                      Operations          LLC
                                Operations                     Eskridge                      Washington                                                                                      Lane                                                             Road                                    Street                                                                                                                                                                     LLC                                                                                                        LLC                              LLC
                                                                                                                           Hammonds                                                                                                                                                                                               Street Operations          1245 Church                                                                                                                                          Operations LLC                   LLC                                                                                             LLC
                                   LLC                         Highway                        Highway                        Lane                                                       Operations LLC                                                      Operations                              Operations                                                                                225 Evergreen
                                                                                                                                                                                                                                                                                                                                         LLC                Road Operations                                                    500 East Philadelphia
                                                              Operations                     Operations                    Operations                                                                                                                          LLC                                     LLC                                                                                   Road Operations
                                                                                                                                                     677 Court                                                                                                                                                                                                   LLC                                                            Avenue Operations                                                                                                                                                                                                              8 Rose Street
                                                                 LLC                            LLC                          LLC                                                                                                                                                                                                                                                                  LLC                                                                         333 Green
                                                                                                                                                       Street                                                              12-15 Saddle                                                                                                                                                                                                LLC                                                                                                                                                Thirty Five                                           50 Mulberry     Operations
                                                                                                                                                                                         20 Maitland                                                                                                                                                                                                                                                                         End Avenue                                                        Westwood                                                                  2720 Charles
                                                                                                                                                   Operations LLC                                                           River Road                                                                                                                                                                                                                                                                                                                                                     Bel-Aire                                              Tree Street       LLC
                                                                                                                                                                                            Street                                                                                                700 Town Bank                                                                                                                                                              Operations                                                       Medical Park                                                                Town Road
                                                                                                                                                                                                                            Operations                                                                                                                       125 Holly Road                                                                                                                                                                                                               Drive SNF                                              Operations
                                                                                                                                                                                        Operations LLC                                                           292                                   Road                                                                                     262 Toll Gate                                                                   LLC                                                            Operations                                                                 Operations
                                                                                                                                                                                                                               LLC                                                                                                                           Operations LLC                                                  75 Hickle Street                                                                                                                                             Operations                                                LLC
                                                              715 East                                                                                                                                                                                        Applegarth                          Operations LLC                                                                               Road Operations                                                                                                                                   LLC                                                                        LLC
                                                                                                                                                    7 Baldwin                                                                                                                                                                                                                                                                Operations LLC                                                                                                                                                  LLC                                                               80 Maddex
                                                             King Street                                                                                                                                                                                        Road                                                                                                                                LLC
                                                                                                                                                      Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Drive
                                                             Operations                                                                                                                  24 Old Etna                                                          Operations
                                                                                                                                                  Operations LLC                                                           1361 Route                                                                                                                                                                                                                                                                                                                                                                                                            590 North     Operations
                                                                LLC                                                                                                                         Road                                                                LLC
                                                                                                                                                                                                                            72 West                                                                                                                           1700 Pine                                                                                                                                                                                                                                                     101 13th            Poplar Fork       LLC
                                                                                                                                                                                        Operations LLC                                                                                            84 Cold Hill                                                                                                                8100 Washington                                                                                                                                                                                                      Road
                                                                                                                                                                                                                           Operations                                                                                                                           Street                                                                                                                                                                                                                                                       Street
                                                                                                                                                                                                                              LLC                                                                    Road                                                   Operations LLC                                                    Lane Operations                                                                                                                                                                              Operations           Operations
                                                                                                                                                    91 Country                                                                                                3 Industrial
                                                                                                                                                                                                                                                                                                 Operations LLC                                                                                                                    LLC                                                                                                                                                                                        LLC                  LLC            825 Summit
                                                                                                                                                   Village Road                                                                                                Way East
                                                                                                                                                                                        25 Ridgewood                                                          Operations                                                                                                                                                                                                                                                                                                                                                                                             Street
                                                                                                                                                  Operations LLC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Operations
                                                                                                                                                                                            Road                                                                  LLC
                                                                                                                                                                                         Operations                                                                                                                                                                                                                          867 York Road                                                                                                                                                                             106 Tyree Street        302 Cedar             LLC
                                                                                                                                                                                            LLC                                                                                                    Skiles Avenue                                                                                                                                                                                                                                                                                                       Operations LLC
                                                                                                                                                                                                                                                                                                                                                                                                                             Operations LLC                                                                                                                                                                                                    Ridge Road
                                                                                                                                                                                                                                                                                                 and Sterling Drive
                                                                                                                                                                                                                                                              330 Franklin                                                                                                                                                                                                                                                                                                                                                                     Operations
                                                                                                                                                                                                                                                                                                  Urban Renewal
      Genesis PM NJ                   Genesis PM CO                         Genesis PM PA                                                                                                                                                                      Turnpike
                                                                                                                                                                                                                                                                                                  Operations LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LLC          Stillwell Road
                                                                                                                                                                                                                                                               Operations                                                                                                                                                                                                                                                                                                                                                                                      Operations LLC
      Operations LLC                  Operations LLC                        Operations LLC                                                                                                                                                                        LLC                                                                                                                                                                                                                                                                                                                                                    161 Bakers
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Ridge Road           840 Lee Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Operations            Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LLC                                  Saddle Shop
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LLC
                                           2800 Palo                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Road
                                            Parkway                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Operations
                                         Operations LLC                                         136 Donahoe                    60 Highland Road                                                          1700 Market Street                     940 Walnut Bottom                           1070 Stouffer                         100 W. Queen             2600 Northampton                    1848 Greentree                3430 Huntingdon                 1008 Thompson                                                                                                                                                                                          LLC
                                                                                                                                                                      2021 Westgate                                                                                                                                                                                                                                                                                                                                                                                                                                       1631 Ritter
                                                                                                Manor Road                      Operations LLC                       Drive Operations                     Operations LLC                         Road Operations                          Avenue Operations                      Street Operations          Street Operations                  Road Operations                Pike Operations                Street Operations                                                                                                                                              Drive
                                                                                               Operations LLC                                                              LLC                                                                        LLC                                       LLC                                     LLC                        LLC                              LLC                            LLC                              LLC                                                                                                                                                   Operations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LLC


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          201 Wood
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Operations
                                                                                             600 W. Valley                     2400 Kingston                    100 Abbeyville                           900 Tuck Street                       885 MacBeth Drive                          640 Bethlehem                           1105 Perry             113 W. McMurray                     550 South Negley              724 N. Charlotte                5609 Fifth Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LLC
                                                                                              Forge Road                      Court Operations                  Road Operations                          Operations LLC                         Operations LLC                            Pike Operations                          Highway                Road Operations                    Avenue Operations             Street Operations                Operations LLC
                                                                                             Operations LLC                         LLC                              LLC                                                                                                                       LLC                              Operations LLC                 LLC                                 LLC                            LLC




                                                                                             800 Court Street                 115 S. Providence                505 Weyman Road                         1770 Barley Road                        200 Pauline Drive                           2029 Westgate                        2125 Elizabeth            3000 Windmill                      425 Buttonwood                501 Thomas Jones              3485 Davisville
                                                                                             Circle Operations                 Road Operations                  Operations LLC                          Operations LLC                          Operations LLC                            Drive Operations                     Avenue Operations          Road Operations                    Street Operations              Way Operations              Road Operations II
                                                                                                    LLC                              LLC                                                                                                                                                        LLC                                  LLC                       LLC                                  LLC                          LLC                          LLC
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                                          EXHIBIT D

                                   Consolidation Summary

      Inactive Entity           D/B/A Name               EIN        Consolidation
                                                                       Entity
  1400 Woodland Avenue         The Woodlands          XX-XXXXXXX   Genesis CT XCL
      Operations LLC                                               Operations LLC
  319 East Dunstable Road     Langdon Place of        XX-XXXXXXX   Genesis CT XCL
      Operations LLC          Nashua, A Senior                     Operations LLC
                             Living Community
     Genesis Diamond                N/A               XX-XXXXXXX   Genesis CT XCL
      Operations LLC                                               Operations LLC
       Genesis Prime                N/A               XX-XXXXXXX   Genesis CT XCL
      Operations LLC                                               Operations LLC
  SunBridge Clipper Home       Clipper Harbor         XX-XXXXXXX   Genesis CT XCL
    of Portsmouth, LLC                                             Operations LLC
    SunBridge Glenville       Glenville Center        XX-XXXXXXX   Genesis CT XCL
     Health Care, LLC                                              Operations LLC
    SunBridge Mountain        New Martinsville        XX-XXXXXXX   Genesis CT XCL
  Care Management, LLC            Center                           Operations LLC

  Willow Creek Healthcare       Willow Creek          XX-XXXXXXX   Genesis CT XCL
       Center, LLC            Healthcare Center                    Operations LLC
  15810 South 42nd Street    La Estancia Nursing      XX-XXXXXXX    Genesis OMG
      Operations LLC          and Rehabilitation                   Operations LLC
                                   Center
    1660 Hospital Drive       Raton Nursing and       XX-XXXXXXX    Genesis OMG
      Operations LLC            Rehabilitation                     Operations LLC
                                   Center
   215 West Brown Road         Mesa Christian         XX-XXXXXXX    Genesis OMG
      Operations LLC           Residential Care                    Operations LLC
                                   Center
   255 West Brown Road         Mesa Christian         XX-XXXXXXX    Genesis OMG
      Operations LLC             Health and                        Operations LLC
                                Rehabilitation
                                   Center
   9940 West Union Hills     Sun City Health and      XX-XXXXXXX    Genesis OMG
   Drive Operations LLC         Rehabilitation                     Operations LLC
                                   Center
   GEN BQ OMG Master                N/A               XX-XXXXXXX    Genesis OMG
       Tenant LLC                                                  Operations LLC
   SunBridge Circleville      Circleville Center      XX-XXXXXXX    Genesis OMG
     Health Care LLC                                               Operations LLC
    SunBridge Marion         Presidential Center      XX-XXXXXXX    Genesis OMG
     Health Care, LLC                                              Operations LLC
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      Inactive Entity          D/B/A Name            EIN         Consolidation
                                                                     Entity
  Wakefield Healthcare,      Wakefield Center     XX-XXXXXXX      Genesis OMG
           LLC                                                   Operations LLC
   Westfield Healthcare,     Westfield Center     XX-XXXXXXX      Genesis OMG
           LLC                                                   Operations LLC
  Peak Medical Colorado     Cheyenne Mountain     XX-XXXXXXX      Genesis OMG
       No. 2, LLC                  Center                        Operations LLC
                            Mesa Manor Center
                             Pikes Peak Center
                            Cheyenne Place, an
                                Independent
                                Community
                               Pueblo Center
   1 Emerson Drive North       Kimberly Hall      XX-XXXXXXX    GHC TX Operations
       Operations LLC              North                             LLC
   1 Emerson Drive South       Kimberly Hall      XX-XXXXXXX    GHC TX Operations
       Operations LLC              South                             LLC
      1 Magnolia Drive        La Plata Center     XX-XXXXXXX    GHC TX Operations
       Operations LLC                                                LLC
       100 Edella Road       Abington Manor       XX-XXXXXXX    GHC TX Operations
       Operations LLC                                                LLC
     100 St. Claire Drive   Brackenville Center   XX-XXXXXXX    GHC TX Operations
       Operations LLC                                                LLC
  1000 Orwigsburg Manor     Orwigsburg Center     XX-XXXXXXX    GHC TX Operations
   Drive Operations LLC                                              LLC
   1000 Schuylkill Manor     Schuylkill Center    XX-XXXXXXX    GHC TX Operations
    Road Operations LLC                                              LLC
        101 Mills Place            N/A            XX-XXXXXXX    GHC TX Operations
       Operations LLC                                                LLC
      1080 Silver Lake      Silver Lake Center    XX-XXXXXXX    GHC TX Operations
    Boulevard Operations                                             LLC
             LLC
  1113 North Easton Road     Garden Spring        XX-XXXXXXX    GHC TX Operations
       Operations LLC             Center                             LLC
       115 Sunset Road      Burlington Woods      XX-XXXXXXX    GHC TX Operations
       Operations LLC                                                LLC
      120 Murray Street     Glen Ridge Nursing    XX-XXXXXXX    GHC TX Operations
       Operations LLC          Care Center                           LLC
      120 Murray Street            N/A            XX-XXXXXXX    GHC TX Operations
         Property LLC                                                LLC
     12080 Bellaire Way     Elms Haven Center     XX-XXXXXXX    GHC TX Operations
       Operations LLC                                                LLC
   1240 Pinebrook Road,      Pinebrook Center     XX-XXXXXXX    GHC TX Operations
             LLC                                                     LLC



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      Inactive Entity           D/B/A Name              EIN         Consolidation
                                                                       Entity
  1351 Old Freehold Road       Bey Lea Village       XX-XXXXXXX   GHC TX Operations
      Operations LLC            Care Center                             LLC
     140 Prescott Street       Prescott House        XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                    LLC
    1419 Route 9 North          Eastern Shore        XX-XXXXXXX   GHC TX Operations
      Operations LLC               Center                               LLC
  1501 SE 24th Road, LLC       Oakhurst Center       XX-XXXXXXX   GHC TX Operations
                                                                        LLC
    1515 Lamberts Mill        Westfield Center       XX-XXXXXXX   GHC TX Operations
   Road Operations LLC                                                  LLC
   1526 Lombard Street       ACCELerate Skilled      XX-XXXXXXX   GHC TX Operations
  SNF Operations II LLC         Nursing and                             LLC
                               Rehabilitation
                                Philadelphia
   1526 Lombard Street          PowerBack            XX-XXXXXXX   GHC TX Operations
   SNF Operations LLC        Rehabilitation 1526                       LLC
                              Lombard Street
  1718 Spring Creek Road       Lehigh Center         XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                   LLC
    1801 Turnpike Street      Sutton Hill Center     XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                   LLC
   1801 Wentworth Road        Perring Parkway        XX-XXXXXXX   GHC TX Operations
      Operations LLC                Center                             LLC
    184 Bethlehem Pike         Fairview Care         XX-XXXXXXX   GHC TX Operations
      Operations LLC         Center of Bethlehem                       LLC
                                     Pike
  1980 Sunset Point Road,       Sunset Point         XX-XXXXXXX   GHC TX Operations
          LLC                                                          LLC
    200 Marter Avenue            PowerBack           XX-XXXXXXX   GHC TX Operations
     Operations LLC             Rehabilitation                         LLC
                                Moorestown
     22 South Street           Fox Hill Center       XX-XXXXXXX   GHC TX Operations
     Operations LLC                                                    LLC
    239 Pleasant Street        Pleasant View         XX-XXXXXXX   GHC TX Operations
     Operations LLC           Center, Genesis                          LLC
                                 Healthcare
      2600 Highlands          Bay Tree Center        XX-XXXXXXX   GHC TX Operations
   Boulevard, North, LLC                                               LLC
    2601 Evesham Road          Kresson View          XX-XXXXXXX   GHC TX Operations
      Operations LLC              Center                               LLC
     290 South Monaco          Denver Skilled        XX-XXXXXXX   GHC TX Operations
  Parkway Operations LLC        Nursing and                            LLC
                               Rehabilitation
                                  Center


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      Inactive Entity            D/B/A Name              EIN         Consolidation
                                                                        Entity
  3 Park Drive Operations       Westford House        XX-XXXXXXX   GHC TX Operations
            LLC                                                          LLC
   30 Princeton Boulevard       Willow Manor          XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                     LLC
  300 Pearl Street Property          N/A              XX-XXXXXXX   GHC TX Operations
            LLC                                                          LLC
     3000 Balfour Circle         PowerBack            XX-XXXXXXX   GHC TX Operations
      Operations LLC            Rehabilitation                           LLC
                                Phoenixville
    3001 Evesham Road          Voorhees Center        XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                    LLC
    329 Exempla Circle        ACCELerate Skilled      XX-XXXXXXX   GHC TX Operations
     Operations II LLC            Nursing and                           LLC
                                 Rehabilitation
                               Senior Living at
                                   Lafayette
   336 South West End           Hamilton Arms         XX-XXXXXXX   GHC TX Operations
  Avenue Operations LLC             Center                              LLC
   3485 Davisville Road           PowerBack           XX-XXXXXXX   GHC TX Operations
     Operations LLC           Rehabilitation 3485                       LLC
                                Davisville Road
    35 Milkshake Lane          Spa Creek Center       XX-XXXXXXX   GHC TX Operations
     Operations LLC                                                     LLC
      350 Haws Lane              Harston Hall         XX-XXXXXXX   GHC TX Operations
     Operations LLC                                                     LLC
   3809 Bayshore Road           Victoria Manor        XX-XXXXXXX   GHC TX Operations
     Operations LLC                                                     LLC
  3865 Tampa Road, LLC        West Bay of Tampa       XX-XXXXXXX   GHC TX Operations
                                                                        LLC
      4 Hazel Avenue            Glendale Center       XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                    LLC
     40 Parkhurst Road           Palm Skilled         XX-XXXXXXX   GHC TX Operations
      Operations LLC           Nursing Care &                           LLC
                                  Center for
                                Rehabilitation
                                  Excellence
     400 Groton Road          Apple Valley Center     XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                    LLC
     400 Vision Drive           Woodland Hill         XX-XXXXXXX   GHC TX Operations
      Operations LLC                Center                              LLC
   440 North River Street      Riverstreet Manor      XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                    LLC
    455 Brayton Avenue          Somerset Ridge        XX-XXXXXXX   GHC TX Operations
      Operations LLC               Center                               LLC


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     Inactive Entity          D/B/A Name            EIN          Consolidation
                                                                    Entity
     464 Main Street       Memory Support of     XX-XXXXXXX    GHC TX Operations
     Operations LLC           Heritage Hall                          LLC
  4901 North Main Street    Sarah S. Brayton     XX-XXXXXXX    GHC TX Operations
     Operations LLC        Nursing Care Center                       LLC
   4927 Voorhees Road,       Orchard Ridge       XX-XXXXXXX    GHC TX Operations
           LLC                                                       LLC
   515 Brightfield Road        PowerBack         XX-XXXXXXX    GHC TX Operations
     Operations LLC           Rehabilitation,                        LLC
                           Brightwood Campus
      536 Ridge Road        Waterview Center     XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
     549 Baltimore Pike      Brinton Manor       XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
      55 Cooper Street     Heritage Hall North   XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
     55 Kondracki Lane      Quinnipiac Valley    XX-XXXXXXX    GHC TX Operations
      Operations LLC             Center                             LLC
    555 Kondracki Lane            N/A            XX-XXXXXXX    GHC TX Operations
       Property, LLC                                                LLC
  5501 Perkiomen Avenue     Berkshire Center,    XX-XXXXXXX    GHC TX Operations
      Operations LLC       Genesis HealthCare                       LLC
    59 Harrington Court     Harrington Court     XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
   6000 Bellona Avenue     Homewood Center       XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
      61 Cooper Street     Heritage Hall West    XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
    610 Townbank Road      Victoria Commons      XX-XXXXXXX    GHC TX Operations
      Operations LLC       Retirement Center                        LLC
      65 Cooper Street     Heritage Hall South   XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
     650 Edison Avenue      Somerton Center      XX-XXXXXXX    GHC TX Operations
      Operations LLC                                                LLC
       70 Gill Avenue       Pawtucket Skilled    XX-XXXXXXX    GHC TX Operations
      Operations LLC           Nursing and                          LLC
                              Rehabilitation
  72 Salmon Brook Drive      Salmon Brook        XX-XXXXXXX    GHC TX Operations
     Operations LLC              Center                             LLC
  7232 German Hill Road      Heritage Center     XX-XXXXXXX    GHC TX Operations
     Operations LLC                                                 LLC
  7395 W. Eastman Place    ACCELerate Skilled    XX-XXXXXXX    GHC TX Operations
    Operations II LLC         Nursing and                           LLC
                             Rehabilitation
                               Lafayette


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      Inactive Entity           D/B/A Name              EIN         Consolidation
                                                                       Entity
     740 Oak Hill Road         South County          XX-XXXXXXX   GHC TX Operations
      Operations LLC            Nursing and                             LLC
                               Rehabilitation
                                  Center
     7520 Surratts Road        Bradford Oaks         XX-XXXXXXX   GHC TX Operations
      Operations LLC              Center                               LLC
   800 West Miner Street      Brandywine Hall        XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                   LLC
   8005 U.S. Highway 60        Heartland Villa       XX-XXXXXXX   GHC TX Operations
   West Operations LLC          Center ILF                             LLC
    845 Paddock Avenue         Meriden Center        XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                   LLC
    850 Paper Mill Road        Fairview Care         XX-XXXXXXX   GHC TX Operations
      Operations LLC         Center of Paper Mill                      LLC
                                    Road
     8710 Emge Road           Cromwell Center        XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                   LLC
     8720 Emge Road          Loch Raven Center       XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                   LLC
     89 Morton Street         Academy Manor          XX-XXXXXXX   GHC TX Operations
      Operations LLC                                                   LLC
     899 Cecil Avenue          Waugh Chapel          XX-XXXXXXX   GHC TX Operations
      Operations LLC               Center                              LLC
    9109 Liberty Road          Patapsco Valley       XX-XXXXXXX   GHC TX Operations
      Operations LLC               Center                              LLC
      Bradford Square         Bradford Square        XX-XXXXXXX   GHC TX Operations
       Nursing, LLC                Center                              LLC
   Carehouse Healthcare          Carehouse           XX-XXXXXXX   GHC TX Operations
        Center, LLC           Healthcare Center                        LLC
  Crestview Nursing, LLC      Crestview Center       XX-XXXXXXX   GHC TX Operations
                                                                       LLC
   Elmcrest Care Center,        Elmcrest Care        XX-XXXXXXX   GHC TX Operations
            LLC                    Center                              LLC
  Florida Holdings II, LLC          N/A              XX-XXXXXXX   GHC TX Operations
                                                                       LLC
    Florida Holdings III,           N/A              XX-XXXXXXX   GHC TX Operations
            LLC                                                        LLC
     Forty Eight Nichols       Rutland Manor         XX-XXXXXXX   GHC TX Operations
   Street Operations LLC                                               LLC
  Forty Six Nichols Street          N/A              XX-XXXXXXX   GHC TX Operations
        Property LLC                                                   LLC
  Genesis Health Ventures           N/A              XX-XXXXXXX   GHC TX Operations
    of New Garden, LLC                                                 LLC



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      Inactive Entity           D/B/A Name               EIN         Consolidation
                                                                        Entity
    Genesis Hospitality              N/A              XX-XXXXXXX   GHC TX Operations
      Services LLC                                                       LLC
     Genesis IP LLC                  N/A              XX-XXXXXXX   GHC TX Operations
                                                                         LLC
  Genesis Staffing Services          N/A              XX-XXXXXXX   GHC TX Operations
            LLC                                                          LLC
     Grant Manor LLC             Grant Center         XX-XXXXXXX   GHC TX Operations
                                                                         LLC
  Harborside Connecticut         Arden House          XX-XXXXXXX   GHC TX Operations
   Limited Partnership         Governor's House                          LLC
                                Madison House
                                 The Reservoir
                                 The Willows
        Harborside               Hathorne Hill        XX-XXXXXXX   GHC TX Operations
   Massachusetts Limited      Maplewood Center                          LLC
       Partnership              Saugus Center
                              Twin Oaks Center
   Harborside of Dayton       Forest View Center      XX-XXXXXXX   GHC TX Operations
    Limited Partnership          New Lebanon                            LLC
                                    Center
   HBR Bowling Green,           Colonial Center       XX-XXXXXXX   GHC TX Operations
         LLC                                                            LLC
  HBR Brownsville, LLC        Edmonson Care and       XX-XXXXXXX   GHC TX Operations
                                Rehabilitation                          LLC
                                   Center
   HBR Campbell Lane,          Magnolia Village       XX-XXXXXXX   GHC TX Operations
         LLC                                                            LLC
   HBR Danbury, LLC           Saint John Paul II      XX-XXXXXXX   GHC TX Operations
                                    Center                              LLC
   HBR Elizabethtown,         Kensington Center       XX-XXXXXXX   GHC TX Operations
         LLC                                                            LLC
   HBR Lewisport, LLC           Heartland Villa       XX-XXXXXXX   GHC TX Operations
                                    Center                              LLC
  HBR Madisonville, LLC         Hillside Center       XX-XXXXXXX   GHC TX Operations
                                                                        LLC
   HBR Owensboro, LLC           Heritage Place        XX-XXXXXXX   GHC TX Operations
                                                                        LLC
   HBR Woodburn, LLC           Hopkins Center         XX-XXXXXXX   GHC TX Operations
                                                                        LLC
     Huntington Place          Huntington Place       XX-XXXXXXX   GHC TX Operations
    Limited Partnership                                                 LLC
   Klondike Manor LLC          Klondike Center        XX-XXXXXXX   GHC TX Operations
                                                                        LLC



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      Inactive Entity          D/B/A Name              EIN         Consolidation
                                                                      Entity
    Lincoln Highway             PowerBack           XX-XXXXXXX   GHC TX Operations
     Operations LLC         Rehabilitation Exton                       LLC
  Massachusetts Holdings            N/A             XX-XXXXXXX   GHC TX Operations
         I, LLC                                                        LLC
  Peak Medical Colorado      Bear Creek Center      XX-XXXXXXX   GHC TX Operations
       No. 3, LLC              Golden Peaks                            LLC
                                  Center
      Peak Medical            San Juan Center       XX-XXXXXXX   GHC TX Operations
    Farmington, LLC                                                   LLC
  Peak Medical Gallup,       McKinley Center        XX-XXXXXXX   GHC TX Operations
          LLC                                                         LLC
     Peak Medical of          Aspen Center          XX-XXXXXXX   GHC TX Operations
     Colorado, LLC             Elms Haven                             LLC
        Peninsula               Salisbury           XX-XXXXXXX   GHC TX Operations
    Regional/Genesis         Rehabilitation &                         LLC
     ElderCare, LLC          Nursing Center
   Post-Acute Support             N/A               XX-XXXXXXX   GHC TX Operations
      Services, LLC                                                   LLC
  Regency Nursing, LLC        Regency Center        XX-XXXXXXX   GHC TX Operations
                                                                      LLC
  Rejuvenate Consulting            N/A              XX-XXXXXXX   GHC TX Operations
      Services LLC                                                    LLC
  Rejuvenate Group LLC             N/A              XX-XXXXXXX   GHC TX Operations
                                                                      LLC
   Riverside Retirement     Decatur Township        XX-XXXXXXX   GHC TX Operations
    Limited Partnership           Center                              LLC
  SR-73 AND LAKESIDE            Powerback           37-169999    GHC TX Operations
        AVENUE              Rehabilitation, 113                       LLC
   OPERATIONS LLC             South Route 73
  SunBridge Harbor View        Harbor View          XX-XXXXXXX   GHC TX Operations
   Rehabilitation Center,   Community Center                          LLC
           LLC                 Harbor View
                             Behavioral Health
                                  Center
     Woodspoint LLC         Bridge Point Center     XX-XXXXXXX   GHC TX Operations
                                                                      LLC




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